          J-
r,\Ù)$q            Case 1:13-cv-02015-PKC Document 1-1 Filed 03/26/13 Page 1 of 66

                               STATE OF NE\/ YORK
          SUPREME COURT OF THE
          COLINTY OF BRONX                                               X
                                        BY CONSTANCE
          ESTATE OF RAMARLEY GRAHAM,
                                     PATRI CiA
          MALCOLM, ADMiNIS TRA TRD(,
                            A MINOR BY IS M OTHER
                                 CONSTANCE \4ALCOLM,
          AND NA TURAL GUARD lAN
          FR.ÁlN CLOT   A M AND CONST ANCE MALCO
                                                   LM,
                                                                                               f t)l:'* 0 i ii i* - '-:"
                                                                                   suYY-oIS ?,*>c>-7
                                           Plaintiffs,
                                                                                   INDEX NO. Õ U
                                                                                                     3 l-lJ

                                                                                   p-.,1-<,'tnsÐ      ,1. l,:


                                                                                    Plaintiffs designate BRONX
                                                                                    County as the Place of trial
                                                                                    The basis of the venue is that
                                                                                    Bronx CountY is the Place
                                                                                    where tbe cause of action
                                                                                    arose.




                                                                             X


               To the above named Defendant(s)
                                                                                               action and to serve   Í
                     you                        to answer the complaint in this
                            ARE HEREB' suMMoNED
                                                                                this sulflmons' to ssrve a notice
                                                                                                                  of
               copy of youf answer, or,   if   the complaint is not served with

               appealance,onthePlaintiffsAttorneywithtwenty(20)daysaftertheserviceofthisSummons,
                                               (30) days after the service is complete
                                                                                       if the suûunons is not
               exclusive of the day of service

                                                  tire State of New York); and
                                                                               in case of your failure to
               personally delivered to you within
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ùppeùroranswer,judgmentwillbetakenagainstyoubydefaultforthereliefdemandedînthe

complaint.

Dated: New York, New York
       JanuarY ,2013

                                            EMDIN & RUSSELL,LLP.
                                            AttorneYs for Plaintiffs
                                            499 Seventh Avenue 12N
                                            New York, New York i0018
                                            (2r2) 683-3995



 Defendant's address:




                                                       rl.
                                                   I
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                                    YORK
                 THE STATE OF NEW
SUPREME COURT OF
coLl-NTY OF BRONX                         -----x
                                ----------------x
                    GR-AHAM' BY CONSTANCE
ESTATE O' *N/IO*'EY          ArRI c lA HARTLEY'
MALc o LM, oonoÑî'înÀrnx'-r
          .o*tËËfïi  rtaiNo^1BY IS MoTHER
cHINNoR                         coNfJANcE MALcoLM'
AND NATuRAL
                  ooto ..NSTANCE MAL..LM'
            "õÃ"öt"Ñ
FRANcLot o*oäîoo'
                            Plaintiffs,

              -against

                            POLICE COMMISSIONER
 THE CITY OF NEW YORK,
                     NYPD, D EPUTY INSPECTOR
 RAYN4OND KELLY,                 UALLY AND AS
 PAUL DEENTREM ONT,INDIVID
                           OFFICER, P.O. RICHARD
 A SUPERVISING PO LiCE tH Pcr.,                                   VERIFIED COMPLAINT
 HASTE, SHIELD #20875,41
                           A
 iNDIVIDUALLY AND AS
                      O. TYRONE H ORNE,
  POLICE OFFICER, P
  SHIELD #24885, IND
                      TViDUALLY AND ASA
                          SCOTT M ORRIS,
  POLICE OFFICER, SGT.          AND AS AN OFFICER,
  SHIELD #953,IND IVIDUALLY
                              JARVIS, SHIELD #77]6,
  POLiCE OFFICER ANDREW LiCE O FFICER,
  iNDIVIDUALLY AND ASAPOID ENTITY PRES ENTLY
                          DOE,
   POLiCE OFFi CER J ANE
                         SNEU  LINIT, INDTVIDU ALLY
   IINKNOWN,4T '" PCT,         AND P OLICE OFFICERS
   AND AS A POLI CE OFFICER, P R-ESENTLY TINKNOWN,
    JOHN DOES 1-10, IDENTITIES
    EACH INDIVIDUALL
                        YANDASAPO LICE OFFiCER,
                                Defendants


                                                        by   constance Malcolm' Administratnx'
                                of   Ramarley Graham,
   The plaintiffs, The Estate
                                                                                 a minot by his
                                         patnciaHartley, and chinnor campbeil'
                                 Graham,
   constance Marcorm, Francrot
                                                                                    their
                                                              of the defendants' by
                      guardian constance Marcorm, complaining
   mother and natural

    attorneys,Emdin&Russell,LLP',respectfullyshowtothisCourtandalleges:
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                                      PARTIES


l.Uponinformationandbelief,atalltimeshereinaftermentioned,thedefendant,theCityofduly
                                         ..City',, was and still is a municipal corporation
                       referred  to  as
New York, hereinafter
                                                                          New york' and the public
                             and  by virrue  of  the raws of the State of
                      under
 orgattzedand existing

                      defendants in this actron'
employer of all named

z,Uponinf'ormationandbelieflhatatalltimeshereinaftermentioned,thedefendant..City, of
                                                              the police Departrnent
                                                           and controlled
                      and employees  operated, maintained
 its agents, servants
                                                   .,NypD" including arl the porice officers thereof'
                   york hereinafter referred to as
 the city of New

 3.Uponinformationandbeliefthe,.NYPD,,iSanagencyofthe..City'',existingand
 operatingbyvirtueoftheiawsofthestateofNewYorkandtheCityofNewYork.

   4'Uponinformationandbelief,atallrelevanttimeshererrnderRa¡rmondKelly,hereinafter
                                                               New york, appointed by
                                                                                      and
                            police commissioner of the city of
                           was the
  referred to as..Kerly',,

  servingunderthediscretionoftheMayoroftheCityofNewYork,MichaelBloomberg.

   5'Atallrelevanttimeshereunder,KellywasinchargeoftheNewYorkCityPoliceforce,
                                                                       capacity               his
                                                           i'his   individual capacity and in
                                  thereunder. He is sued
   including all officers serving
                           off,tcer
   as a supen/ising Police

     6'Atallrelevanttimeshereunder,includingonFebruary2,}O|z,PaulDeBntremont,
                                                                          of the            officer
                              ..De'ntremont,,, was the Deputy inspector/commanding
   hereinafter referred to
                           as
                                                                                       assigned to said
                                             York'  and was in charges of all offrcers
                                county, New
   47th pct.,iOcated in Bronx

    command'
                                                                                                        times
                                                                      to aS..Hasie,,, Ll all relevant
    .7.                           Haste, hereinafter referred
            Police ofñcer Richard
        Case 1:13-cv-02015-PKC Document 1-1 Filed 03/26/13 Page 5 of 66
                                                                                     ,,C1tf,, and hired,
                                                                               the
                                   2,'olzwas    a   police officer employed by
                        February
hereunder, including on
                                                     and promoted by the
                                                                            "city'" "Kelly'" and/or
                              supervised, morutored
screened, trained, appointed,
                                                                           as a police offtcer'
                            in his individual capacity and in his capacity
.,DeEntrsmont,,. He is sued


8.Uponinformationarrdbelief,onFebruary2,2Ol2,,,HasÏe,,wasassignedtotlre4Tfhpcl'
                                                                ..SNEU,'.
                                                                                 to as
                            Narcotic Enforcement   Unit, hereinafter referred
 and was assigned to Street
                                                          ..Morris,,, at all relevant times hereunder,
                               hereinafter referred to as
 g, Sergeant Scott Morris,
                                                        emproyed by the      "city', hired' screened'
             on February z,    zorzwas a police offrcer
 inciuding

 trained,appointed,supervised,monitoredandpromotedbythe..City',,..Kelly',,andlor
                                                                                  porice officer'
                                                         and in his capacity as a
 .,De'ntremont .,. He is sued in his individual capacíty

  l0.Uponinformationandbelief,onFebruary2,2OT2,,.MorriS,,wasasslgnedtothe47ftpct.
                                                                              ..SNEU',.
                                                   hereinafter referred to
                                                                           as
                        Narcotic Enforcement Uilt,
  and was assigned to Street
                                                                                                   times
                                           hereinafter referred to as..Horne,,, at ali relevant
  11' Police officer Tl,rone Home,
                                                                              by the "city'" and hired'
                                      z,z'rzwas   a porice ofñcer employed
                           February
  hereunder, including on
                                                         and promoted by the "city"
                                                                                         "Kelly'" and/or
                                 supervi  ed, monitored
  screened, trained, appointed,
                                                                               as a police officer'
                               in his individual capacity and in his capacity
  ..De'ntrernont... He is sued

   12.Uponinformationandbelief,onFebruary2,z0l2,..Horne,,wasasslgnedtothe4T'hpcf,
                                                                           as "SNEU"'
                        Narcotic Enforcement
                                             unit, hereinafter referred to
    and was asslgne to Street
                                                                                   at all relevant times
                                     Jarvis, hereinafter referred to as "Jafvis",
    i3. porice offrcer Andrew
                                                                               by the "citt'" and hired'
                                       z,z'rzwas    a porice officer emproyed
                             February
    hereunder, including on
                                                           and promoted by the "city'"
                                                                                          "Kelly'" and/or
                                   supervised, monitored
    screened, trained, appointed,
                                                                                     porice officer'
                                                            and in his capacity as a
     .,De'ntremont,,. He is sued in his individual capacity

     |4.Uponmformationandbelief,onFebruary2,z0I2,..JarViS,,wasassignedtotlre4Tthpct.
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                                                                              as "SNE.J"'
                           Narcotic Enforcement unit, hereinafter referred to
and was assigned to
                    Street


15'UponinformationandbeliefPoliceofficerJohnDoesl-l0,atalirelevanttimes
                                                                     and
                                                                     employed by the         "citt''
                                      z,    zorzwere police offrcers
hereunder, i'cludíng on
                        February
                                                                                         ,.City',, ,.Ke'ly'',
                                                                             by the
                                     supervised,  monitored and promoted
                          appointed,
hired, Screened, trained,
                                                                                           as a police
                                                          capacity and in hís/her capacity
      .,DeEntremont,,. Each is sued in his/her individual
and
                                                                                              are presently
                                                                 Johr Doe porice officers
                        badge number    and assignment of said
 officer. The identity,
                                                                                      Jarvis, Horne and
                                 ,,offlcers,, sharl refer to Haste, Morris, Jane Doe,
                          term
 unknown. Hereinafter the

 JohnDoesl-l0,collectivelyasawholeorinpart.

  16.UponinfonnationandbeliefPoliceofficerJaneDoe,atallrelevanttimeshereurrder,
                                                                    by the   "cit]",   and hired, screened'
                          2, Z'lzwas    a   police officer employed
  inciuding on February                                                                       ..Ke''y',,
                                  monitored and promoted
                                                                      by the ..City,,,                     and

  trained, appointed, supervised,
                                                                              as a police officer' The
                               in her individual capacrty and in her capacity
  ..DeEntremont,.. she is sued

                                                is presently unknown'
            badge number and number of Jane Doe
  identity,

   IT,Uponinformationandbelief,onFebruary2,Io:^L,JohnDoesl-l0andJaneDoewere
                                                                                       were assigned to
                                                and belief one or more of the officers
                          pcr,pon   information
   assigned to the 47th

                            forth in this complaint'
   the "SNEU " tearl as set

    18'Atallre]evanttimeshereunder,Haste,Morris,Horne,JarvisandtheunidentifiedJohnand

    JaneDoeswereactinginthescopeoftheirernplo¡'.mentasNewYorkCityPoliceofficers.
                                               was 18 years of age, residin
                                                                            g ar.749 East 229ú
                                       Graham,
    19. on February 2,0ozzRamarley                                                   Malcolm'
                                 york. He resided there with his mother constance
                             New
    Street, in Bronx county.
                                                                      Patricia Hartley.
                     Campbeil, sister, Leona Virgo, and grandrnother,
    brother, Chinnor

      20.onFebruary2,Lolz,ConstanceMalcolmwasthemotherofRamarleyGrahamand
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ChinnorCampbeli,andresidedatl4gEasfT}gÏhstreet'Bronx'NewYork'

 2l.onFebruary2,zolz,ChinnorCampbell,age6,wasthebrotherofRamarleyGrahamand    since his birth'
                                          york. chinnor resided with Ramarley
                               Bronx, New
resided ar^49 East2zgthStreet,

22.onFebruary2,Zlli,PatriciaHartleywasthegrandmotherofRamarleyGrahamand
                                                                   resided
                                               New       york. patricia Hartley continuously
                       Easfzz,h street, Bronx,
resided with him ati49

 with RamarleY, since 1994'

  23.FranclotGrahamisthefatherofRamarleyGraham.onFebruary2,20l^2heresidedat69

 West 131tt Street, New
                        York'   N'Y'                                                  ,,   ^.Ê-oc nf

   24,]4gEastzzgthstreetisintheWakefieldsectionoftheBronxandwithintheconfinesof

  the 47th Pct'

   25'RamarleyGraham,ConstanceMalcolm,ChinnorCambell,PatriciaHartley,andFranclot
                          descent'
  Graham are of Carribean
                                                                                       was appointed
                                                                    Constance Malcolm,
                                     of this action, the plaintiff,
   26,     Prior to the commencement
                                                             been duly qualified               to acl
                                                                                                   as

                    of the Estate of    Ramarley Graham, has
   Administratrix
                           now acting in said capacity'
   Adminisitratrix, and is
                                 NOTICES OF CLAIM

     21'ThePlaintiffshavefi.ledatimelyNoticeofClaimagainsttheCityincompliancewith
                          Section 50'
    General MuníciPal Law
                                                                        to   as the "Estate", constance
                                               hereinafter referred
             The Estate of    Ramarrey Graham,
      zg.                                                                            Patricia Hartley,
                                                 ..Constance,,, Franclot Graham, and
                                       to   aS
     Malcolm, hereinafter referred

     hereinafterreferredtoas"Patsy'"haveeachsubmittedtoa50hhearing'

     29.ConstanceMalcolmsubmittedtoa50hhearingonbehalfofherminorchild,Chinnor
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                                                                                  under doctor treatment
                                           ,.chinnor,, was only 7 yearsof age and
                      referred to     as
Campbell, hereinafter

for psYchol o gical trauma
                                                             of said notices and the
                                                                                     city has failed to
                                   elapsed since the service
30.         More than 30 days have

pay or adjust the claim'                                                                     of the initial
                                                                      days after the cause
                                     within       one year and ninety
 31   .     This action is commenced

 action arose'
                                      GENERAL ALLEGATIONS


   32'Uponinformationandbelief,onolbeforeFebruaryz,20:2theCityandKelly,
                                                        rvas carried out by itsthat
                                        ,,Stop and Frisk" program or policy
                            aggessive
  had instituted a highly
                                                                officers'
                               including  the named defendant
  police officer  employees'
                                                                                              of reported
                                                           police commissioner, the number
                                       has been  appointed
    33. In the decade since Kelly                                                        information and
                                                          6g4,330   times in 2011' upon
           ,,street stops,,rose from 97,000 in20o2to
   annual                                                                                          by the
                                                        and procedures    implemented or approved
                            to the porícies, directives
   belief said rise is due

      "CitY'anðlor "Kelly'''

          34.Upontnformationandbelief,aspartofitsStopandFnskProgram,theCity,Kelly,andthe

      N|YPD,providemultiplelevelsoftrainingthatcoveredstopandFriskprocedures.Thatincludes,    suspicion'
                                                and Frisk, videos
                                                                  about the law of reasonable
                             a workshop on stop
      but is not limited to,
                                                                                    graduating from the
                                                       and  ongoing training after
                                       memorandum,
      patrol guidelines, operationar

       Police AcademY'

          35'Uponinformationandbeliefthisprogram,hereinafterreferredtoas,.StopandFrisk,,, frisks'
                                           males and'/or youths
                                                                for stop' question and/or
                                      minorities,
          disproportionately targeted                                                      and violated the
                                                                       against minorities'
                                                    disproportionately
                         the excessive use of
                                              force
          resulting in
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                                                                                      the confines
                                        york city, including citizens residing within
                     of citizens of New
constitutional nghts

of the 47'h Pcl"

36.InthetnatletofDavidFloydetal'vCityofNewYorketal'283FRD153,UnitedStates
                                                                    "it is indisputable
                                            Schiendlin, stated that
                                          york, Justice
         court, Southern District of New
District
                                                  program. Trrere were
                                                                       2'g miilion "documented'
                        enorfnous  stop and frisk
that the NypD has an
                                                were made pursuant
                                                                    to a policy that is designed'
                      arid 2009.  These  stops
 stops between 2004

 implementedandmonitoredbytlie\IYPDadministratton,'(orderpaget2).

  37.ofthereported7,I2l,470stop,questionandfnsks,.repofted,,in2008and2009alone,
                                                                14and21 (accordingtothe20l0census
  37o/o,or4l6,350wereforindividualsbetweentheagesof                                the defendant's
                                            city population). Thus, we submit that
                            only 10% of the
  this age range represents
                                                           focused on youths
                                                                              of New York city'
                         is heavily and disproportionately
   stop and füsk policy
                                              Graham'
                       youths like Ramarly
   especially minority                                                                                   and
                                                                                stop and frisk policies
                                        shows    that pursuant to the \IYPD
   38. Statistical evidence further                                                                       not
                                                                     to stop, question andi or frisk had
                                                          subjected
                             ty of civilians who were
   procedures , a grearmajo                                                                                of
                                                           in said actions without reasonable suspicion
                                                 engaged
                          and that the NypD
    co'rmitted any crime,
                                                                           ratinos were disproportionately
                                         shor¡, that, and that bracks and
    crimi.ality.Furthermore statistics
                                                       use of force'
                                 arrests and excessive
    targeted for stops' summons'

     39.Uponinformatronandbelief,itwasstatisticallyrevealedthatofthereportedstopsand
                                                                       of criminality was
                                                                "suspicions"
                     by the NypD between 2004 and z00g,officers
     füsks conducted

     wrong nearlY 9 out
                        of 10 times'

       40.Uponinformationandbelief,theCity,NIYPD,and/orKellywerelongawareofwereawafe
                                                                                a study througþ
                                          frisks. In 2007 the NypD commissioned
                          poiice stop and
      of   the raciardisparity of
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                                                                                              pracfices'
                                                                      and frisk patterns and
                             policing  to study their stop, question
The Rand center on euality
                                                                                             53o/o black
                                            persons   stopped  onry 1 ro/o were caucasions ,
                        the iralf a million
The study found that of                                                                              that
                                                that were   stopped,  45% ofblack and Hispanics
                                 of the people
and z9o/o'ispanic, Moreover,
                                                                                           frisked' Yet'
                                                   caucasions    that were stopped were
                             while onry z9%of
 were stopped were frisked
                                                                                                on them'
                                                     than  black  suspects to have a weapon
                                 were roo/orikelier
 when frisked, white suspects                                                                         and
                                            in the New    york porice Department stop' euestion
                          racial Disparity
 (Rand study Anarysis of

 Frisk Practices, Page xi)

    4l.TheRandreportfoundthatblackpedestrianswerestoppedalarate50percentgreaterthan
                                                                                        report made
                                          census.  RAND    report page xi' The RAND
                          the residential
  their representation in
                                           to .,impro'e interactions between police and pedestrians
                             to the NypD
   several recommendations
                                                                            pedestrian stops" RAND
                                     accuracy of  the data collected during
                                 the
   during stops and to improve

   pagexv)'sorneofthemanyrecommendationsproposedinclude:reviewborougþswiththelargest
                                                                                    to use force was used;
                                           record   the  reason(s) that the need
                               outcomes;
     racia\disparities in stop
                                                                                                and identify'
                                                                          are being frlled out;
                                     to make  sure stop and frisk forms
   monitor radio comrnunications                                                                       "some
                                                             stop patterns' Finally, the report found
                                  with out of the  ordinary
    flag and investigate officers
                                                                                     be in order' parlicularly
                                        officers, initiar days on the street might
                                    new
     correction in training during
                                                                   page xvi
                          of Operation lmpact practices" RAND
     for any  evaluation

    42'.Uponinformationandbeliefthedefendantsdidnotadoptthesesuggestions,andasof

     February:,zolz,stillcontinuedtostop,frisk,search,anduseforceonminoritiesirra
                                         stop and frisk policies
                                                                 in predominately non-white
                              and target their
     disproportionate manner,
                               of New York'
     precincts within the City                                                       ..Stops,' and then attempt
                                   belief, police officers
                                                           routinely ef\E.gein
       43.    Upon informatron and
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                                                                                               pretextuai
                                                                         or stop and frisk was
                                   when in  fact the basis for the stop
                            frisk,
to justify trre stop and/or
                                                                                  searches are conducted
                                          informatron   and belief fi:isks and/or
                         in nature. upon
 and/or discriminatory

without j ustifi able reasons'

  44.AccordingtoastatisticalanalysisconductedbyColumbiaUniversityProfessorJeffrey
                                                                          and frisk) a "suspicious
                                     police cited (as a reason for a stop
                     the Floyd case,
  Fagan,submitted in
                                                             percent of ail stops
                                                                                  (or 1 out of every 69
                 o/o o1 a.Istops, yet a gun was found in .15
 bulge,, in 10.4                                                                                      in
                                                                               were cited as a reason
                                              a weapon).  Furtive movements
                                of concealing
 person stopped on suspicion

  more than   5Oo/o   of all stoPs'

    45,ProfessorFaganalsostatisticallyfoundtlrat..NYPDstopandfrisksaresignificantlymore
                                                                                   even when adjusting
                                               than  they  are forwhite residents,
                            Hispanic residents
  frequent for Black and
                                                                                Fl0yd ai' 29 ' He further
                                              of the  10ca1 population'
                                 cornposition
  for 10ca1 crime rates, racial
                                                                                   harshly than whites
                                            Blacks   and Latinos are treated more
                             when stopped
   statistically found that
                                                                                and Latinos are included
                                     criminal activity. The terms Black, white
   stopped on suspicion
                          of similar

                           and are adopted herern'
   within the NIPD reports                                                                    Center for
                                                 Program revealed in a report released by the
                                  Stop and Frisk
     46.      Analyzeddata of the

    Constitutional Ri ghts
                           in 7012 found:

                                                                                         and frisk reports
                                                      officers themse'lves in their stop
     o Analysis of the information
                                   recorded by.police                                  and thus violated the
                                                                 articut'ùte
     indicares that more
                           ;r;;;,;oo,top, ru.r,"î'r"*""'ot"'                 "sp''ion
     Fourth Amendment
                                                                                                     constitutionally
                                                                    use the    highly subjective and
                  continues to frequentry and indiscriminatery
     , The  NypD
     questionabre categories
                               of "hìgr
                                          "''11'-:1   i¡l;Ïf:Ï:#?ffî:',î.'Ïj-'l îilÏ:"":i'J':Ti:l;i
     ';l*;;t" than 60% of all stops' A compartso at roughly the sam
                                     ttttor was cited
     crime area" reveals tntiiiit                              of stops' 53
                           *"          checked in a majority
      "Furtive movement"                                            for a st
                                  ''"        of this stated reason
      correlation between ;;; ";';"cy
            Case 1:13-cv-02015-PKC Document 1-1 Filed 03/26/13 Page 12 of 66

                                                                                               crime rates
                                                        absence of any rerationshi.p to actuar
                                   and their complete                    articulable susptcton'
frequency of these crassifications             indicators or reasonable'
                                not legitimate
suggest strongly ,hrr;;;;;;
                                                                                       are regally supposed
                                                        smat  number given that stops
                             arrest, an extraordinariry                             or contraband are
. onry 5% of stops resurt in                        The rates of seizure of weapons                    rates
                             articurabre suspicion.                            lower than the seizure
to be based on reasonabre,
                                  gun ,",rrrJ, ,;;       *"i"b';;l     ãnd
                                                                            ""
 miniscute  .tz%of stops yietd
                   -                                 ''än
 of random stoPs'                                                                                were a
                                                           has dramatrcally risen. In 2010 there
                                        of stop and Frisks
 4j.              Since 2009 the number

 reported 60 1,055 stoPs'                                                                      of that
                                       New   york city    precincts reported 685'12'4"stops"'
    4g. For the calendar year z1t,                                                            were of
                                                   of  persons  of black  descent' and223'650
                              categ oizedas stops
  total numb er 350,143were                                                                   and who
                                                    of  individuals  who were not categonzed
                            not include the number
  Latino descent (this does                                                                          as
                                                g3.16%of      individuals  stopped were categorized
                                descent). Thus,
   may be of black or Latino
                                                                    (8g.z%)wereblackandlatinos,and
   ..minorities,,'ofthe381,704personsfriskedin201l,330,638

   11 741
   LItr      '-
                   (7
                   \'   '4%\ were whites'

   49.Accordingtoa2010census..blacks,,makeup25%oftheCity,spopulation,..Latinos''

     29o/o        and"whites 33%'

     50.Statisticaldataalsorevealedthatstopandfriskpractices,whenmeasuredagainstthe

      compositionoftheprecinctpopulation,wasemployedatamuchgreaÍerfrequencyinprecincts         41't and
                                                                in 201 1 the 73'd ' 23 ' 81't'
                                   predominately of minorities.
                            composed
       whose popuration was
                                                                                     Point and East Harlem
                                                South,  Bed  Stuyvesant East, Hunts
                                  East Harlem
          25ù pcts (Brownsville,
                                                                                   populations respectively'
                                             zr.goÁ,  zr.r%   and zo.9o/o of their
                                   z3.go/o,
          North) stopped zg.roh,                                                                  (68û pct')'
                                                             Bensonhurst  (62od pct)' Bay Ridge
                                     East Side (19th   pct),
          Meanwhile, in the upper
                                                                                             white precincts'
                                         Borougþ    park (66th pct-), each predominately
                                    and
           Toterurviile (rz3dpct.)
                                                                          anð 2,0,/, oftheir
                                                                                             populations. The
                                                             z.3oÁ,2'7o/o
                                ed at arate of 2'5o/o,2'4oÁ,
           residents were stopp
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                                                                                 reporting        the most
                                   stops resulted in füsks. The top 5 precincts
                        r¡,hen the
salne pattem holds true
                                                                          'r3'd'44ú' 115ù and 40t'
                                             preci'cts, such as the 75th,
                          inority popurated
number of frisks were                                                                         18ú'
                                                  white populated precincts such as the 94tI"
                                were conducted in
wh'e the reast amount of frisks

 r23'd,lltr'   and27"d   '
                                                                               Side, Manhattan),
                                                   such  as the 17ù pct, (East
                                    neigþborhoods,
 51. Even in traditionally white                                                       its white
                                                               rate when compared to
                            are stoppe d at adisproportionate
 black and ratino residents
                                                                       inzorr,Tr'4o^ofallstopsmadein
 citizenswhoresídewithinthesamepct.To'lustratethepoint,
                                                               and iatinos.
                                                                            yet, they account for onry
                                         made   agarnst black
 Kipps Bay/Murray Hili,
                              Ny, were
                                                                                       latinos comprise
                                            rn Greenwich   viliage, where blacks and
 7 .go/o.of trie total
                       precinct popuration.
                                                                             york civil Liberties union
                                              for 16.6 %of  all stops. o{ew
                             they accounted
  oniy g% of the precinct,                                                                         in the
                                                                          precincts engaging
                               The same reports aiso cites the additional
  S.op and Frisk 2011
                      Report).
                                                            62od'
                                 61"' 11lth' 20'h' 13'h and
   samepractice: 19th, r23'd'1"'                                                                ..Stops,,   (or in
                                                             force was used      in   148,079
                         reported that at least one act of
   52' It was    further
                                                                                      forceagainstblacks'
                                     stops   in2011), with r6,4g3reportedtheuseof
    21.5%of thetotalnumberof
                                                                              itshouldbenoted thal5r'1%
   (21.g%of aii stopsof the
                                 35O,743sropsmadeagainstthemin2011)'
                                                                                                persons that
                                                  by New  york city porice were made against
          ,,reported,, instances of use of force
   of ar1                                                                                           r29
                                                                           force used against them      '590
                                 ,.black,,. In 2011 blacks and latinos had
    the   NypD caregonzedas
                         whites        times'
    times as compared to        '9"765
                                                                                      of the "Stop and Frisk"
                                               of the use of force within the context
                                the prevalence
     53.       To
                    'lustrate
     pfogram)itshouldbenotedthatthenumberofstopsinwhichatleastoneactofforcewas
                                                                           (41,215) and
                                               the totai number of summons
                                                exceeded
     ..reported,, as being used (148,079 times)
                                                                                                        it was
                                          ,,stops,, in New      york city in 2011 (totar g2'098)' Thus'
                            from reported
      arrests (40,gg3) made
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                                                                                 encounter than             it
                                               by police during a stop and frisk
                                          used
1.g more times more
                    likely that force was

wasthatsaidencounterresultedinanarrestorasummonsbeingissued.

 54.UponinformationandbelieftheCity,Keliyand/orNYPD,eithercondonedtheuseofstop   or acted with
                                   in conjunction with it, as "means to an end"'
               or the use of force
and frisk program,
                                                                          that manner in a vast number
                                            that it was being utilized in
                        to the knowledge
deliberate indifference
                                                                                 criminarity that would
                                             suspicion    of no evidence of any
                            no reasonable
of cases where there was
                                                                               the irutial stop or frisk.
                                       to the  degree  it was used, much less
                                 force
justify the use of any force, or

 55'TheCity,and/orKellysougþttojustifythetremendousincreaseinthestopandfrisk
                                                             yet, that contention or rationale
                                heiped rid the city of guns.
                        program
                     that the
 program by claiming                                                                                      united
                                                          as a justification to
                                                                                violate the laws of the
                              out. Nor wourd    is serve
  is not statistically borne                                                                                  and
                                                 york.             theNypD      conducted 160'851 stops
                                                         In 2003
   States constitution
                         or the state of New
                                                                                                            stops
                                                                6g5,.z4stops,   or an additiorø.524'873
   recovered 604 guns.
                          In 20l1theNypD conducted
                                                                                             more gr'lr's as' or a
                                                 yet  they  only  recovered an extra 176
                               2003 statistics.
   when measured against

   totalof780'Tiratcomputestoa.0003%Successratefortheadditionalstopsmade'

   56.Uponinfonnationandbelief,theCity,and/orKellyactedwitirdeliberateindifferenceto:
                                                                                 was highly
                                                        "Stop and Frisk" program
                                  or application of the
                              enforce'rent
    statisticai evidence that                                                             (weapons
                                                or the recovery of weapons or contraband'
                             arrest, a summons,
    unlikery to resuit in an

    wererecoveredinl,l'%ofthetotalnumberofstopsreportedin20ll).

     5l.Infact,theCity,and./orKellyweredeliberatelyindifferenttostatistical
                                                                 that indicated     possessed
                                                             information that they
                                    complaints and other
     evidence/reports/informatio                                                                         or
                                                                        targeting minority communities
                               program was rargetingminorities,
     that: the stop and frisk
                                                                                  the program was targeting
                                           frisk progralr:ì- was racially biased;
                              the stop and
     precincts; evidence that
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                                                                                                    this
                                                              or  excessive  force in carrying out
                                                unnecessary
                        using force, including
youths; officers were
                                                                               police officers received
                                                        applied; the training
                         was being unconstitutionally
program; the program
                                               for pfopef  training  in the academy, for suppleme'tal
                       that there was a  need
 was inadequate, and                                                                                  the
                                                       training  in the laws of the 4th Arnendment'
                      and for in-field s
                                          ervision and
 training in service,                                                                        and seizure
                                                     general  police  guidelines and search
                                                 and
                         reasonable suspicion
 legal use of force, for

          -:ï;;ation                                                acted with deliberate
                                                                                          indifference that
                                                      and/or Kellv,
                                 and belief the city,
 ï'                                                                                          viOlations of
                                                                  result in the countless
                                 would, could, and did,
  the     aforementroned issues,

                        of its citrzenry'
  Constitutional rigþts

   59.Uponinformationandbelief,priortoFebruaryz,zolztheCity,and/orKellyfailedto
                                                              to maintain or develop
                                                                              and failed
                                            audit  each officer worksheets,
                            commanders
      require that precinct                                                                           a baseline
                                                        and  tracking   police officers who receive
                                    for identifying
       a system or methodology
                                                                stops, improper  frisks or searches' unnecessary
                                                  to improper
                           compraints rerated
       number of civilian
                                                                           homes, and/or discourtesy.
                                   threats,  illegal  entry into citizen,s
                            force,
       or excessive use of                                                                              14-24 age
                                                                       minority youths, persons in the
                                                 especiarly targeted
        60. The stop and frisk program
       range'                                                              c t ¡ and     accolur, for only
                                                                                                             4'lo/o of
                                                              the  ages  of           24 ecc'ount
                                                                             14 ^'^'11l'
                                             males between
        61. Althougþ Black and Latino                                                                in the salne age
                                                                             20r 1 . white youths
                                                                                                ,




                                                    4r,6o/o  ofalr stops  in
                               they accounted nor
        the city,s popuration,                                                                     3'g% of the total
                                                             and   were  responsible for only
                                    the city,s population
         goup account forZo/oof                                                              were"reportod" being
                                                        between    the ages of 14 and 24
                           jn 20i 1, young black men
         number of stops.                                                                         this age range who
                                                       total number    of  young black men in
                                  u,hich exceeded the
         stopped 16g,r26times,
                            CitY (i 58'406)'
         reside in New York
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                                                                             stop and frisks, but
                                                                                                  more
                                           vulnerable  not only to stops, or
62. Minority youths were particulariy                                            police in the Age of
                                                 As  reported  in Growing    up
ararmingly to the use
                       of force by the NypD.
                                                                                     in New York Law
                                      G Stoudt, Michelle  Fine and Madeli'e Fox'
            poiice policies, by Brett
Aggressive
                                                                                   the two year period
                                   îl1]Il![Iz'youths   who were stopped during
                      Voiume 56
School Law Review,
                                                                 arÏesled        5'4o/o   of the time'
                                                                                                  issued
                           6|'3%of           the time' they were
 of 2008-2009 were frisked                                                                        (most of the
                                                      found  on   the youths  r 'zo/o or thetime
                          time, and weapons were
 summons 5.r% ofthe                                                                                        Yet'
                                                         onry  r,o/o.of  the total weapons recovered)'
                        were knives, guns
                                            comprised
 woapons recovered
                                                                                               approximately 2
                                                 the  same  youths    26'3%of the time' or
                               was used against
 it was reported that force                                                                     also found that
                                                             or  issued  a summons. It was
                                         of being  arrested
    yzftrnesmore than the likelihood
                                                                                                    in a violent
                                                     or object,   actions indicative of engaging
                                 a suspicious burge
  reporrs of youths carrying                                                                                 and
                                                                                   were hig''lv u*eliable
                                                g.6oÁ,  and 1 .7o/orespectively'
                           plain view 10.5% ,
   crime, or an object in
                                                                                                aforementioned
                                                   The  total  number    reported (using the
                                        of a gun.
   unlikely to read to the recovery
                                                                                             (under any basis or
                                            were  g0,756, yet the total guns recovered
                                  of youths
    criteria) of stop and frisks
                                                             period' or '009%'
                            suspicion)   was 831 during that
    criteria for reasonable

     63.lnall,416,35:youths(38i,578,or91.6o/oweremalesand213,260ofthetotalyouths
                                                                         2008-2009during
                                       black  or African  American.) were stopped
                         categ onzedas
    stopped (52.4%)were
                                                            contraband. only 10% of the total youths
                                              weapons    or
                            them were free of
    and  405,gg g (g1.5%)of
                                              lo/' femalefrom    2008-2009   '
                        youths' and only
     stopped were white

       64.Uponinformationandbeliefthe..stopandfrisk,,proglam:targetedorwasapplied,ina
                                               applied or enforced
                                                                   in predominately minority
                           against minorities;
                                               was
     discriminatory manner                                                                         males) as
                                                                            gender biased (against
                                                         age r4-2rr and was
                           biased against youths,
      communities; was age
                                     Graham fit to a tee'
      well. A profi'le that Ramarley
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 65.Theseyouthswerealsosubjectedtotheuru:Iecossaryuseofforce.Stodt,FineandFox
                                                                     and 2009' the
                                                                                 in 2008
                                    ggtimes that force   was used agarnst youths
further   reported that of the r0g,
                                                                                            was recovered)
                                        twice   the  number   of times that any weapon
                            (more than
poiice, tnZ,4,instances,
                                                                                          cases where force
                                                    at a suspect.  In the other 1 07 '357
                                    their firearm
drew their firearm androrpointed
                                                                                                or against a
                                               suspect,   placing  the suspect on the ground
                       it included hands    on
was reportedry used,
                                          spray among other
                                                                things'
              use of a baton or peppsr
  walVcar,the
                                                                                       should not, have been
                                                 of these  statistics could r'ot, and
                               anð agedisparity
 66 '   The racial, gender

 ignored'

  6].UponinformationandbelieftheNYPDissuedaDepartmentoperationsorder,n,oo,,
                                                                     continued
                                                                   berief,       raciarprofiling
                                Nevertheress, upon information and
  prohibiting raciarprofi.ring.                                                           \ilas no
                                                   as of February 7,2012' Moreover' there
                                tool 0f the NypD
  to be utilized as a policing

   operationsorderordirectiveprohibitinganytypeofgenderoragebiasapplicationofpolicing
                         that date'
   practices in Place on

   68.PoliceCommissionerKellyhasstatedthatthestopandFriskPrograrn,andthe..Stops',   possession of a
                                              activity, which incrudes the criminal
             serve as a deterrent
                                  to criminal
    thereunder)                                                                                        said
                                                                              continues to endorse
                                        and  upon    information and belief,
    weapon. Therefore he
                            endorsed,
                                                                                                       was
                                                          under his cornmand,
                                                                              althougþ said program
                                        police  officers
                        appried by the
    program and have it
                                                                                   and in a racially biased
                                          citizens  without  reasonable suspicion,
                           stop and frisk
    being used to stop and


                                                                       was           in effect on February 2'
                                and beiief this Stop and Frisk program
     î*"tuoon        informabon
                                                                                              and all
                                                              throughout the city of New York
                                implemented and overseen
       z'rz,and r¡,as trained,
                                        47th pct' by Deputy
                                                            Inspector DeEntremont'
                         including  tbe
      precincts therein,
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 TO.WhiletheaforernentionedstatisticswereconlpiledforailNewYorkCityprecincts,the
                                                                    the exception of
                                                                       the praintiffs' with
                            alarming      for   the rfhprecinct, where
statistics are particularly

Franclot Graham, resided'

 Tl.Atallrelevanttimeshereunderlhe4.tpct',underthecommandofDeEntremont
wasaparticularlyaggressiveprecinct,participatingintheStopandFriskProgram.
                                                          reportedly..stopped',
                                                                                by police in the
                                           persons  were
                            belief 10,936
12. Upon information and                                                 The number of persons
                                               classified as minorities'
                     thatnumber ,10,2'76were
47rh pct.in 2011. of
                                                                                    of force was
                                                              were stopped' A form
                                                   number persons who
                       or     60.rzo/oof the total
 searched was 6640,

                                      of the total nurnber
                                                           of stops'
  used 3,124 times, or
                         tn   28o/o



   T3.Thereare]]precinctsinNewYorkCity,andin20lIthe4lÏhpct.ranked#26tnlotal
                                                      as apercentageofminoritystopandfrisks
  numberof stops,    #24t'numberof stopsandfrisks,#13
                                                                      gg% of the precinct's population)'
                                  yet black  and ratinos account for
                          latino,
   (96.g% were black and                                                                             #15 in
                                                                of total stops (60.7 % ol arrstops)'
                                 #1g in frisks as apercentage
   #Z'intotal number of frisks,
                                                                                 force was used in relation
                                        used,  and #i3  as a percentage where
                       which force was
    number of stops in
                            (28'6%)
   to total number of stoPs

     T4TheagebiasapplicationofthestopandFriskprogramisevenmoreglaringlyalarmingfor
                                                                    people stopped in
                                                   ages or              A-2r' of the 10'936
                 rike Ramarrey Graham, between the
    mare blacks,

      the4]fhpct'in20II,5,089,or46'5o/owereinthatagegouP,and3,g5T(77.65%ofpeopleinthe                     an
                                                                          this category'
                                                                        that fen into
                                   biack. Moreover, of the 3,gszpersons
                                as
     age group) were crassified

                           males'
     incredible 93'}4%were

       T5.Thus,wesubmit,onFebruaryz,zolz,theNewYorkCityPoiiceDepartment,inciuding,
                                                                           minorities'
                                           -,thpct., had a practice, procedure, or
                                                                                   poricy that targeted
                             gthe
      or especially incrudi.
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                                                                                               youths
                                                                    or procedure aiso targeted
                       ,,African Americans,,. That policy, custom
including,,blacks,, or
                                                                         without regard to reasonable
                                   rnares, for stop, question and frisk
between the ages of r4-zr,
                               and



                                                                            were            filed from the 47i'
                                      stop, Question and Frisk reports that
î*t"tî,         the 10,g36 documented
                                                                                who were stopped'
                                         into account the numerous individuals
                           does not take
 pct. in 2011 (that frgure
                                                                                          while 739
                                        919 (or g. %)of said stops resulted in an arrest'
                            frred) onry
 without any report being

 (6.16%)ofsaidstopsresultedinissuingasummons.Thus,sl'|4%ofthetimepersonsstoppedor
                                                                             higher'  cityrvide are even
                                                             or arrested. The figures
                               were not issued a suml,,ons
  stopped and frisked,

  approximatelY 90%!
                                                                                              a high percentage
                                                 and based on the aforernentioned statistics,
                                     and belief,
  17   .       Upon information
                                                                                                  so based upon
                                                                            47th pct'were done
                                                                          the
                                                     and /or frisked in
  of persons that          w   e stopped, questioned
                                                            due to the                         city' Keliy' and
                     upon the Stop and Frisk program and/or
   their race, based
                                                   the unconstitutional   application of said program'
                                 indifference  to
   DeEntremont,s deliberate
                                                                                                 of said l0' 936
                                                  the  47th pct'for the year 2OI1' finds that
                                           from
     7g. Further statistical evidence                                                                        (not
                                                          (narcotic  ) in only 264 cases and a weapon
                 ,.stops,,, poiice found contr-aband
   documented
                                                                                      the stops respecti'ely'
                                         which  computes    to z.4ro/o and r .4o/o of
    necessarily a gun) r'
                            1 53 cases)


       79'ThemostcommonreasonusedbytheNYPDtojustifystoppingciviliansofNewYork
                                                                        within the
                                                                           falrs predominately
                           go%of whom had committed
                                                    no crime or violation,
       city,   armos   t
           calegory..furtivemovements,,.ln20llthatreasonwasgivenin5l.3%ofthetotalnumberof

       stoPs.
                                                                                                             officers
                                                        belief, the City and/or
                                                                                Kelly either failed to train
                                                  and
       80.       Howevet, upon information
                                                                                                           etilaance or
                                                                              indifference to the need
                                 Ílovements"'        or acted with deiiberate
       what constitutes "furtive
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                                                                                   unequal application
                                               with deriberate indifference to the
                    in the    area; they acted
supplement training
                                                                                by "whites"' not resulting
                                      ,,furtive movements" are committed
                                 when
of stop and frisk procedures                                                                        and they
                                                               by  minorities resulted in "stops"'
                                           when cornmitted
   ,,stops,,, while the same movements
in
                                                                                  movements" was
                                                                                                       not a
                                                                  that "furtive
                            indifference to the
                                                    knowredge
 acted witir deliberate
                                                                                   a person has committed'
                                                  contraband,   a weapon' or that
                                               of
                        marker of possession
 statisticarly reliable                                                                        proven to be
                                               .,furtive movements has been statistically
                             a crime. rn sum
 or is about to commit,                                                                    and frisk'
                                                                         a stop' question
                                       suspicion   to justify a stop, or
                           reasonable
  unreliable to establish

  Sl.ofthemanyÍeasonsprovidedasthepredicateforsaidstopsinthe4T,hpcl.,
  1,74%wasforcaÛymgasuspiciousobject,52.S3%wasforfurtivemovements,and10'33%wsre

  for   a "susPicious   bulge"'
                                                                     reasons or rationale
                                                                                          for said stops
                                                  shows    that said
                                statistical proof
   82. The aforementioned
                                                                probability of success'
                                untrue'  or without statistical
   were inaccurate, unreliable'                                                            and in the 47ù
                                                            and  applied in[[Il'citywide'
                                         to be maintained
   83. Yet, said Plogram continued
                               7'2012'
   pct., including on Februarr                                                           which targeted
                                               overaggressive   stop and frisk poiicies
    g4. Further evidence of the defendants,
                                                                                  found in the Trespass
                                                  section  of the Bronx, can be
                           such as the wakefierd
    minority cornmunities,                                                                        York'
                                                           clean  Harls' rn Ligon v city of New
                                known as the operation
    Affidavit program, fonnerly                                                                     TAP
                                                               the NypD's    trespass stops outside
                                                          that
                                       an action alleging
    No 12, ciyzzj ,plaintíffbrougþt                                                       rigþts' Justice
                                                                4th Arnendment
                                reasonable suspicion, viorating
     building are often without
                                                        8' 2013' agreed'
                   in a written decision fi'led January
        Scheinldin
                                                             ,*hile it may be difficult to say where' preciseiy'
                                                    stated
        g5.                      Justice scheindlin
                rn her decision,                                                                     exists'
                                                                              encounter' such a line
                                                  and *nconstitutional police
                                 a constitutional
        to draw the line between
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                                                                stops outside        TAP buildings tn
                                crossed it wh'e making trespass
and the NypD has
                 systematically

                       10'
the Bronx". Ligon Page

86'AltlroughBronxAssistantDistrictAttorneyJeanetteRuckersentmemostoNYPDPolice
                                                                were providing for
                                                            of the reasons police
                  police  officials expressing her concerns
cornmanders and
                                                                                  unheeded.
                                               Hall Buildings, her collcerns went
                                 outside Clean
stopping irurocent individuals

 Sl.DrFaganconcludedlhuf63o/oof,.therecordedtrespassstopsoutsidetheCleanHails
                                                                   not based on any
                                                                       were
                                 where no indoor behavior was observed
 buildings in the Bronx
                        in 20i1,

 articulatedreasonablesuspicion''Lígonat67                                       or farl           within
                                         does not involve a clean Halrs Buiiding
  gg.                      Graham,s case
         Although Ramarley
                                                                                                    policing
                                                 umbrella    of the defendants' overaggressive
                          does farl within the
  the TAp program, it
                                                                                            adequately tram
                                                      cornmunities,   and their failure to
                                    and at minority
  policies directed at minorities
                                                                                          The actions taken
                                               parameters   set by the 4th Amendment'
                              in the laws and
   and supervise its officers
                                                                                       in the death of Mr'
                                                w*l   be  set forth herein, resulting
                                   ,,'Orzas
   by the offrcers on February
                                                                                          from' the policies'
                                                   violations,  stems in rarge measufe
                        and other constitutionai
   Rarnarley Graham
                                                                 the stop and frisk
                                                                                    prograln' the inadequate
                                         defendants,  including
                           es set by the
    customs and proce
                                                                                exerted by the city' NYPD
                                        by its officers, and/or the pressures
                               of, and
    training and supervrsion
                                                            standards measured
                                                                                   by the number of arrests
                            Kelly to   meet  performance
    DeEntremont and/or
                     issued'
    made and summons

     Sg.UponinformationandbeliefsaidstopandFriskprogramwasestablished,maintained,   and to
                                             to meet arrest/summons nrrmbers/quotas
                               and monitored
                            appiied,
     supervised, continued,

                           perforrnance standards'
     establish and/or meet

     90'UponinformationandbelieftheNYPD,Cityand/orKellyestablishedperformance
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standardswhichdemanded,orresultedinincreasedlevelsofstopsandfrisks'
                                                officer  Performance objectives operation order,
                                       Police
91' According to the |011,7111
                                                                     managers can and must
                                                                                               set
                                                    that "Department
                       directed all commands
commissioner Keily
                                        ,.issuance of sumrnons, the stopping
                                                                               and questioning of
                                to the
 performance goals" relating
                         and the arrests of
                                             criminals"'
 suspicious individuals'
                                                                                  47th pct' set the
                                           Deputy   Inspector DeBntremont of the
                                  beiief
  92. Upon information and                                                    under on February 2,
 performanceobjectivesthatthenameddefendantofficerswereoperating

 2072.

  93.Thesameoperationorderstated.lrniformedmembers..'.Whodonotdemonstrate              and their
                                           activities... will be evaluated accordingly
            who fail to eîEage'n
                                 p oactive
  activities... or

  assi gnments re- assessed"'                                                                         a
                                                                       quota system which included
                             Justtce  Scheindlin   cited evidence of a
   94' ln the Floyd case,
                                                           includes:
                                  "stops"' Saíd evidence
   minimum number of monthly                                                                     pct'
                                                          Montgornery,  commander of the 28th
         a. the deposition of Inspector
                                                 Dwayne

                                                            a minimum of z'3
                                                                              stop and frisk per month
                                   his officers to conduct
   who testified that he expected

    andusedthatnumber..asatilayofjustgavgngwhetherornottheyweredoingtheirjob,'Floydat

    20.

             b.PoliceofficerAdhylPolancoofthe4l,tpcttestifiedthathiscommandingofficers
                                                                                    officers were
                                             and summons. He further testified that
    announced    specific quotas for arrests


     threatenedwithreducedovertimeorreassignedforfailuretomeetquotas.

              c'PoliceofficerAdrianSchoolcraftrecordedrollcallsatthe8l'tpctwhere
                                                                             to meet
                                                                               and arrests
                                 instructing offrce¡s to conduct uniawful stop
     supervisors were
                      ye'ing and
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                                                                     command"' These
                            This order was coming down "the chain of
lugher performance numbers.
                                                                                        stukes
                                   Deiafuents, Deputy rnspector Maurielro, and Sergeant
                        Lieutenant
statements were made by

aridcitestireinstructionsofChiefofTransportationMichaelscagnelli.
                                                              pct offered testimony that his
                                                                                             supervisors
                                             of the    28th
        d.      Police officer Luis Pichardo

                     per tour quota'
imposed aîwe summons

 95.lnarecentdecisionbyJudgeshiraScheindlin,sheruledinarelatedcase,Ligonv.The
                                                                                                 stops
                                                                   the rine when making trespass
                                        has systematically crossed
 city of New york, that the ,.rypD
                                 program) buildings in the
                                                            Bronx'
 outside TAP (trespass affidavit
                                                                         reached the conclusion that
                     the evidence   in the Ligon case, Justice Scheinlin
  96' ln reviewing
                                                                                      question first'
                                                       the forl0wing lesson: stop and
 ,.the NypD's inaccurate training has taught officers

                               later"
  develop reasonable suspicion
                                          '



  gT.Wesubmit,assetforthherein,thatthissametrainingandmodusoperundiwasineffect
                                                          to the tragic events inside Ramarley
               on the aftemoon of February 2,2'12,1eading
  and foll0wed

                            below'
  Graham's home as detailed

  98'Thoseevents,onFebruary2,zol2,involvedHaste,Morris,Jarvis,Home,JaneDoeand
                           Street Narcotic Enforcement
                                                       unit Team, performed in the course
   other unknown members
                         of the


   of their duties   as   New York City Police Officers'

    gg'Uponinformationandbelief,onFebruary2,20|2,thesNEUteamoperatingoutofthe
                                                                                                    not
                                            and /or Kelly,s Stop and
                                                                     Frisk progam, irrcluding but
                          under the CITY,
   47fh pct,was operating
                                                                     use of force directives, policies,
                           goals, arrests and summons quotas, and
   limited to performance

    procedures or Practices'
                                                                                review and rating system
                                                subject to a monthry/qu arterry
    100.     officers     assigned to SNEU were
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                                                                                        is to "identify
                                               are"rated"       and the purpose of such
as per rnterirn order
                      #49 of theNyTD. officers
                                                                         activity (which
                              of the service invorved in the enforcement
and reward uniformed rnembers
                                                            points on an annual basis"'
               by providing them with up to four caraerpath
incrudes sNEu)

i0l.Uponinformationandbeliefthenunrberofsurnrnonsissuedandarrestsmadewerepartof
                                                  officers. According to the
                                                                             lnterim order'
                    perfonnance evaluation of
the criteria used ín the                              'NEU
                                                                                      result      in   the
                                             will,   absent mitigating circumstances'
 ,,continued unsatisfactory performance

                            the Borough Personnel
                                                  Review Board"'
 imposition of sanctions by

 lo2.Uponinformationandbeliefofficerswhoissueahighnumberofsummons,conducta
                                             a minimum number of
                                                                 arrests, wiil receive
                   ,,stop and füsks,,, and/or make or rneet
 large number of

  agoodperformancerating,resultinginfourcaÏeelpathpointsonanannualbasis.Upon
                                                                                      a"fast track" career
                              points   will ultimately   be used or applied towards
  information and belief said

  path, for advancement'

  l03.Uponinformationandbelief,mernbersoftheSNEUunit,includingthenameddefendant
                                                           career path points by
                                                                                 virtue of theír
                                        up to 4 additional
                    eligible to receive
  police officers, were
                                                           and belief, in order to
                                                                                   receive said points' the
                             However,   upon information
   assignment to said unit.
                                                                     rnake arrests'
                        ce", i.e.be active and issue surl]11ìons and
   officer rnust "produ

   i04.UponinformationandbeliefinordertomeettheactivityquotasthesNEUteamdeveloped

   asystemof.nextup,,.Uponinformationandbeliefthedefendantsengagedinasystemorpractice
                                                                                      mernbers of the
                                         and who  would   catch them. That way ail
                                 arrests
   wherein officers would rotate
                                                                               or his qualification and
                                     regardless of the training of the officer
   ..team,,would meet their numbers,

    capabiiitytobe..nextup,,intheunfoldingcircumstancesofthecase.Uponinformationandbelief
                                                                            in shortcuts taken by
                             and lack of any meaningful evaluation resulted
    the performance system
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                                                                           iilegal search and seizures'
                               violations  of cítizens, false arrests, and
NypD officers, constitutional
                                                                                     that their officers
                         deliberate indifference    to the constitutional violations
yet, the city acted with

wereengagedin,andthecompiaintsofitsresidents,CityofNewYork'

 l05UponinformationandbeliefHasteonorbeforeFebruary2,zoll,volunteeredtobe
                               47th pcl
       to the SNEU Unit at the
 assigned

 106.UponinformationandbeliefMorrisvolunteeredtobeassignedtotheSNEUUnitatthe

  47rh   pct'
                                                                                        Unit at the 47ù
                                          Jarvis volunteered to be assigned to the SNEU
  IO7    .    upon infonnation and belief

  pct'
                                                                                        Unit at   tlrre 47ú
                                          Horne vo lunteered to be assigned to the SNEU
              Upon information and belief
  1   08.

  pct.
                                                                                              Haste was
                                                                  at approximately 3:00 p'm',
                Upon information and   belief on February 2, zo|2
   109

   "next uP".

      ll0.UponinformationandbeliefHastehadnotrecevedhisrequiredtrainingandwasnot

      qualified,ready,orpreparedtobeinthesNEUteam,inthefieldorcatchteamoftheSNEUteam,

      or "next uP" on FebruarY
                               2'2012
                                                                                        4Jth pct' was, at
                                           DeEntremont,  the commanding offrcer atthe
                                and belief
      1 1 1. upon information
                                                                                                   police
                                                 for the assignment, training and supervision of
                                     responsible
      all relevant tirnes hereunder,
                                                                                             Doe and/or
                                            including defendant Haste, Morris, Horne' Jane
                                       unit
      officers assigned to the
                                 'NEU
                                                     presently unknown'
                                whose identities are
       Jarvis and other ofñcers

         II2'UponinformationandbeliefofficersassignedtoSNEUwererequiredtoattendand
                                                                             courses' They were aiso
                                     included sNEu and plainclothes training
        complete      training which
                    'NEU
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requiredtobefamiliarwithtlrecontentsoftheSNEUGuidelinesmanual.
                                                    47rh pcr'was required
                                                                          to ensure that police
                                De'ntremont, of the
1   13.    The precinct comrnander,
                                                                   liance with provisions of
                                                                                             the street
                       to the 47ß pct. sNEu , were
                                                   in         co
officers assigned
                                                           patrol Guidelines, I'terim orders             and
                                 unit   Guidelines Manual,
Narcotics Enforcement
                                                                              upon informatron
                                                   Stop and Frisk procedures'
               guidelines were enforced, including
Administrative

 andbeliefhedidnotmeetorenforcetherequiredcriteriaasofFebruary2,T0l2.
                                                                           did not receive the
                               beiief, on or before February 2,20!2, Haste
     114. Upon information and

    required SNEU training'
                                                                                        offrcers to
                               and  berief De'ntremont   did not require Haste or other
    1i5. upon information
                                                              assignment'
                                   prior to actual SNEU field
    complete the required training

    116'Uponinformationandbelief,atallrelevanttimeshereundertheCity,and/orKeliywasin
                                                                                 assignment' in service
                                      and analysis of testing, hiring, training,
    charge of an testing for
                             recruits
                                                                                         named defendants
                                       and disciplining     NYPD offrcers, including the
     training, monitoring, supervision
                                                                                                     training'
                                                                       but is not limited to firearm
                                     belief said training consists of,
     herein. upon    information and
                                                                                   training, warrant training'
                           reasonable   suspicion  training, search and seizure
     probabre cause and
                                                                                            upon information
                                 a'd interim  orders,  and sNEU training if applicable'
     review of 1egal bulleti's
                                                                                                          mass
                                                   to, in all circumstances,  aim for and shoot center
                             firearm training   is
      and belief part of the

      when   fring   a weaPon'


      lll.Uponinformationandbeliefthepolicytoshootforandairncentermasshascaused
                                                                                      due to NYPD
                                   lethal aitematives were ava'abie, but not explored
                              ress
      unnocessary deaths when

      policY and Procedures'                                                                      ,.objective,
                                                                                             an
                                                asked the   RAND corporation to undertake
       1   18.   In early January, 200],Kelly
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                                                           and fireann discharge
                                                                                 review process"'
                          of the NypD     firearm training
comprehensive assessment
                                                                york city police Department
                                 titred Evaruation of the New
The result was a rr4
                     pagereporl
                                                                                    Jensen' Morral'
                                          review  process, by Rostker, Hanser' Hix'
Fireann Training and Fireann-Discharge

                      published in 2008
Ridgeway and Schell''
                                                                    made were:
                            findings  that the RAND Corporation
 i 19. Among the     many
                                                                                                   and
                                                                          chance at each hands-on
                                        generally gets no ûIore than one
          a. Each recruit/student
                                                                             an opportunity to practtce
                                        Therefore the recruits " do not have
  skills simulations with instructors
                                               page xv1l
                             Executive Summary
 what they have been taught"

         b       Students are not graded

          c.     Studentsarenotcailedontodernonstratethattheyhavemasteredthetechniques

  being taugþt
                                                                                                     was
                                                  marked retrained, it did not mean that the recruit
                                          frle is
          d.      Even when the recruit's

                               the simulation agam'
   given an opportunity to try

   I2o.TheRÄNDreportsconcluded..itisnotpossibleforthedepartmenttoknowwhetherthe
                                                           they are able to apply it in
                                                                                        the
                                                                 whether
                      the informahon   taugþt in the crassroom,
   students mastered
                                                                                         in achieving the
                                        the two hours  of classroorn trme u'as effective
                       job, or u,hether
   scenarios or on the
                                                                               internalized the right way
                                     The failure  to ensure that students have
    training performance objectives.
                                                                                            been taugþt
                                                   opporr*nities to practice what they ha'e
                              provrdi'g sufficient
    to approach situations by

     maycreateaninappropriateresponseonthestreetandisashortcomingintheNYPD
                                                    summary          page xvrl'
                              RAND report executive
    recruit-training program"

     I2I.UponinformationandbeliefHastewashiredin2008andtrainedinthemannerinwhich
                                                                               on    responses
                                      a,,shortcoming" and "may read to inappropriate
                          found to be
     the RAND corporatiOn
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the street"

I22,onFebruary2,2[I2,Haste,Morris,JaneDoe,Horne,Jarvisandotherscommittedan
                                                               due to the           city' andlot Kelly's
                                encounter with Ramarley Graham
inappropriate response to their
                                                                                              in the use,
                         to the need to  adequately  train, retrain and prepare its officers
deliberate indifference
                                                                                    to the fact that their
                  their weapons.  They  further acted with deliberate indifference
and discharge of

                                          in the death of innocent persons'
policy to shoot center mass, would result
                                                                                      (for NYPD
                            made some  findings   and recoÍlmendations for in-service
I23. The    RAND     report

 offtcersonceoutoftheacademy)trainingaswell.
                           ,,in service training         is   particurarly important    to   reinforce the
 r24.      RAND found that
                                                                                    developed on the   job,
                                     receive     as recruits, to correct bad habits
 comprehensive trainin gthatoffrcers
                                       changing   law-enforcement   environment." page xviii'
 and to keep up with the  dynamicary
                                                                                   whether the
          they found that 'tnforfunately, officers are generally not tested to see
 However,

  training was absorbed'" xviii
                                                                                   involves
                                         that firearm requaiification course which
  r25.     The RAND report further found
                                                                                     tire officer has
                                on a known distance fange' does not demonstrate that
  shooting    af   papertargets

                                  for a street encounter'
  mastered his weapon or is ready
                                                                                                standards in
                                       that.,recruits  shourd be required to pass proficiency
   126. The report    recommended
                                                                                 graduate from the police
                      based   tests of compiex   decision rnaking before they
   reallife scenario
                                                                                         proficiency on the
                        officers   shourd be  required to demonstrate their continued
   academy. seasoned
                                                                                        are required to do'"
                     real rife scenarios, just as, for example seasoned airline pilots
   most demanding

   Page xvru
                                              NYPD' City and/or Kelly did not
                                                                              adopt these
    r27       Upon information and belief the
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                                                                           demonstrate their
                            Haste, nor Morris or Jane Doe were required to
recommendations and neither

                            or before February 2'2012
"continued proficiency'' on
                                                                                           officers
                           and belief the training, or lack thereof' that the defendant
128    upon infonnation
                                                                              events cuhninating m
                               2'2012  caused  or contributed to the chain of
received on or before February

                        that daY'
RamarleY Graham's death
                                                                            aware of their need to
                                      the    City' Kelly and the NrYPD were
 I2g.     Upon information and belief
                                                                                    need to provide more
                                      in the  academy  as we' as in-service, their
 update and improve their   training
                                                                                               proficiency
                               ,,street encounters", and the need to test, and retest officers
 training and supervision for
                                                                                 failed to do so, and as a
                        and  the  law,  yet they, with deliberate indifference,
 in tactics, guidetines
                            were injured or harmed'
 consequence the plaintiffs
                                                                                                   training
                                        to the             \r',pD, (pages xviii-xix) to facilitate
  130.     RAND made 13 recommendations
                                                                                                 were not
                                      and   belief'   ûffiy' if   not ali of the recommendations
  effectiveness. upon information

  adopted.

  l3l.Uponinformationandbelielunder].IYPDguidelinesapoliceofficershallnotusedeadly
                                                                                     he or she must
                               unless the officer has probable cause to believe that
  force against another person
                                                           death or serious physical injury'
          himseif or another person present from imminent
  protect

   l32.TheNYPDguidelinesfurtheradmonishthatanoffrcershallnotdischargehisweaponifit
                                                                                           shall not f'e
                                to  other persons. The  guidelines require that an offrcer
   poses an unnecessary danger
                                                                              death or serious physical
                        a fleeing  feron  who presents no threat of imminent
   his weapon to subdue

   injurytothemselvesoranotherpersonpresent.TheseguidelineswerenotfollowedonFebruary2

    20r2
                                                                        a shooting, the NYPD Firearm
                      report noted that when examining the propriety of
    133      The Rand
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                                                                                               and
                                               on the shooting, but should focus on the events
                        should focus not only
discharge investigation
                                                                                         student's
                                          a path suggested in
                                                              the NYPD Police Academy
                      up to the shooting,
choices made leading
                                                                      make discharging a weapon
                           shooting  in this mamer, shootings may
Guide  ZO,..a.Ana1yzing

unnecessary or less   likely to occur'

 I34.However,uponinformationandbe]ieftheNYPDFirearmReviewprocessdoesnotadopt
                                                                       Student Guide' conseque'tly
                              RAND    report and the porice Academy
 the focus suggested in
                         the
                                                                                       review of the
                                                    thereof, and the investigation and
                                the imprementation
  firearm training and tactics,
                                                                 placing an officer in   a   position where
                      do not stress or enforce the need to avoid
 use of deadry force,

                       to use deadly force'
 he/she feels the need
                                                                               are involved in a shooting,
                                    Police  officers  are taught that..if they
  135' At the Police Academy,
                                                                                     tactics they used prior
                                   the propnety   of the discharge but also on the
  they w*l be judged no
                         only on
                                                                                          position that gave
                                         they  unnecessarily  placed themselves in a
                               whether
  to the shooting, including
                                                                                            Police Academy
                                    w'apons,,,   RAND    report page 44,quoting NYPD
                              their
   them no choice but to fire

    ZO07a,p20'Yet,inthefield,thistraining,or.Judgment,,isnotenforcedorapplied,lendingtacitthe
                                                                justify their actions regarding
                           where officers do not feel a need to
   approval to an approach

   events leading up to
                        their use of deadly force'

    136.Saidfocusallowsapoliceoflrcertojustifyhisshootingbasedupon..Ithougþthehada
                                                                             prior to actions
                                  on the propriety or reasonableness of the officer's
    weapon,,, instead of focusing
                                                                                          the officers
                                            said  actions are consistent or logical with
                               and whether
    discharge of the weapon,

    conductandjustificationfordischarginghisweapon'

     13]'TheRANDreportcommissionedby(elly,recommendedthattheFirearmDischarge
                                                                           on:
                                                      shootings. some of the
                                                                             inquiry would focus
                          a broad inquiry into porice
     Review Board conduct
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       Didtlreofficersapproachthesituationcautiously,andinamannerconsistentwithher

training?
                                                                                information, and
                         take advantage of all reasonable available assistance,
        Did the officers

 tactjcalconsiderations,(i.e.cover)beforeconfrontingtheindividualtheyslrot
                                                                              that they shot?
                         avoid an uru:recessary confrontation with the person
        Did the offrcers
                                                                                                 that
                                           time of the shooting reasonable, or is there evidence
                                    at the
        Was the officer,s reaction

 theshootingwastheresultofpanicorcarelessness?(RANDreportpage44)

 l38.ThedeliberaterndifferenceoftheNYPDonorbeforeFebruary2,}olz,totrain,follow,
                                                        poiice Academy student Guidelines
                             offrcers who fail to fo'ow
 adopt, enforce and./or disciprine
                                                                                      inciuding but not
                                    has lead to grossly irresponsible porice tactics,
                             force,
 regarding the use of deadiy
                                                                                          arrive to
                                                             and/or qualified officers to
                                                                                                        a
                                 for more trained, seasoned,
  limited to the failure to wait

  Scenewheredeadlyforcewaseventuallyemployed,andafailuretodeescalateordefuse
                                                                        resulting in the ururecessary
                                 without the use of deadly force, often
  potentially voiat'e situations
                                                                                  Ramarley Graham' It
                                        force, incruding the deadiy force used on
                            of  deadly
   and/or unreasonable use
                                                                                      of duty' offrcers
                                             actions for frnng a weapon in the course
   has also lead to few if any
                                disciplinary
                                                                                       or reaching for
                                     ,.believed the victim of the shooting was armed,
                               they
   know that by saying that

   sornething....',,willinsulatetlremfrompotentialdisciplinaryactionfromtheNIYPD.

                   TIIEEVENTSOFFEBRUARYL'ZOIL'ANDITSAFTERMATH

    |3g'Uponinformationandbelief,Morris,Haste,Home,Jarvis,JaneDoeandanunknown
                                                                                                     in
                                          working in the sNEu  of the 47rh pcr', and were stationed
                              Does were
    number of John and Jane
                                                                                         hours of 2:3 0
                                            county' New  York between the approximate
                              street, Bronx
    the vicinity of East 229ú

                               Z'2012
     and 3:30 P'm' on February
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140'UponinformationandbeliefHomeandJarviswerepartoftheSNEUobservationteamon

February 2,2012'

  I4I'UponinformationandbeliefHaste,Morris,andJaneDoewerepartofthe..back-up,,orthe
                                                                        of East 229rh streetin
                                    on Februar y z,zlJrzin the vicinity
,,catchtsam,, of the sNEu operation


Bronx.

 142.    UponinformationandbeliefofFebruary2,KollMorriswasHaste'S,Horne,S,JaneDoe,S,

 and Jarvis' supervlsor
                        for that days assignment'


 |43.UponinformationandbeliefotherofFrcerparticipatedinthisassignment,howevertheir
                          unknown'
 identities are presently

  I44.onFebruary2,20|2atapproximately3:00p'm',RamarleyGraham,hereinafterreferredto
                                               all49East229ú street' Bronx' New York'
                                  home located
                 returning to his
  as Ramarley, was


   I45l4gEastZTgthsteetisathreefamilyfreestandingbuilding'andRamarley',shomewason

  the second floor thereat'

   T46,Ramarleyenteredthebuildingandascendedthestairstothesecondfloor,thefrontdoor

   lockingbehind him'

   I4T,Ramarleyenteredhisapartment,withthefrontdooroftheapartmentlockingbehindhim.

   148'lnsidetheapartmentwashisbrother,Chinnor,andgrandmother,..Patsy''.

    I4g.ShortlyafterRamarieyenteredthebuildingandascendedthestairs,numerouspolice
                                                        of i49 Eastzzgú Street, and forcibly attempted
                               ran up to the front door
    offrcers, with g'ns drawn,

    togainentfance'Amongsaidofficerswefe'uponinformationandbelief,HasteandMorris.
                                                                     warrant'
                                            of a search or an arrest
                     were not in possession
    150'       The officers

                                   not committed any crrme'
        151.   Ramarley Graham had
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                                                                                                the
                                              gain         through  the front door' surrounded
                                   unabre to       access
r5z. Nevertheress, the officers,                                                                the
                                                       to the building  at gunpoint and through
                                                access
                      severar officers obtained
house, and eventuarly

                            tenants' home'
backdoor of the first floor

l53.oncetheygainedaccess,tlreofficers,identitiesunknown,openedthefrontdoortoprovidehad
                                                                   passed since Ramarley
                               Approximately four plus minutes had
access to additional
                     0fficers.
                                                                            for help or distress'
                             time did the porice receive any carl or signal
 entered the premíses.
                       At no
                                                                                                  door'
                                        the police  slammed  into the Ramarley's apartment
 r54.    upon information and belief

 startling PatsY'

  l55.BothPatsyandRamarleywentintotheapartmenthallway'ChinnorwasincloseproximityJane
                                                                             and belief
                                         withhis gun drawn. upon information
                      into the apartment
  behind them. Haste burst

                             tnm'
  Doe and Morris were behind

  l56.NeitherPatsy,norChinnor,heardthepoiiceidentifythemselveseitherbeforeorafterthey

   enteredtheapartment.Noonegavetheoffi.cerspermissiontoenterthepremises

   l5T,Theofftcersfailedtoidentifythemselvesinsidetheapartment,announcetheirpurpose

   insidetheapartment,andtheyfailedtoissueanywarningsinsidetheapartment.
                                                                                   Ramarley and
                                           his gun pointed and ready to fire' Both
           Haste ran down the
                              hallway with
    15g.
                              at the time'
    Patsy were in the hallway

                                   the hallway bathroom'
    i   59.   Ramarley went inside
                                                                                         striking
                                         and immediately frred a shot into the bathroom,
    160.       Haste ran to the bathroom
                                               the ground'
                           and dropping him to
    Ramarley in the chest,
                                                      was fired'
                      several feet away when the shot
    161.  Patsy  was

        167.   RamarleY was unarmed'
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163.Uponinformationandbelief,Policelaterclaimedthattheyrecoveredasmallamountof
                             toilet'
marijuana frorn the bathroom
                                                                                      and she was
                                         did you  shoot  him, why you killed him?"'
                               out.,why
164. patsy immediately cried                                                                   you
                                                    .,get the fuck away before I have to shoot
                                     and warned  to
                         into a vase
pushed backward by Haste

too".                                                                                          police
                                                                         the phone, a Jane Doe
                                                  After chinnor gave her
 165.     patsy told chinnor to get the phone.
                                                                                                 Patsy to get
                                                        officer   ordered Jane Doe not to a1low
                           it from her, after a male
 office, attempted to grab
                                                                             her, but Patsy got it back
                                                                                                           and
                                                         the   phone   from
                                  Jane Doe grabbed
 to the phone to call anyone.
                                                                                                  Patsy from
                                                      information     and belief Moms, grabbed
                                male officer, upon
  attempted to make z car.A
                                                                                                was grabbed
                                                     her   back    and removed the phone' she
                             and twisted it behind
  behind and took her arm
                                                                                             to handcuff her'
                                                  offrcer   cursed   at patsy and tlueatened
                               into a chair. The
  by the neck, pushed down
                                                                                           and told to sit' She
                                  patsy       held down     in  the chair by her shoulders
                                        was
   upon information and berief,
                                             be handcuffed'
   was told that   if   she moved' she would
                                                      the time'
                                 weigþed 85 pounds at
    166.    Patsy was age 58 and

   16]'PastycouldseeRamarley,slegsrnovingandtrembling,howevershewaspreventedfrom
                                                     her back'
                             the officers who pushed
    going to her grandson by
                                                       the aPartment'
    168. Numerous          additional officers entered

    169.TheaforementionedconductandactionswerewitnessedbyClrimor.
                                                     grandmother, Patsy, from
                                                                                 the apaúment,
                                 Chinnor   and  his
    170. Police officers removed
                                                                             she was transported
                                       ordered to go inside a police car and
                  pasty     eventually
                                 was
     separating them.

     from the location to the
                              47th Pct'


        llT.ConstanceMalcolmarrivedonthesceneatapproximately3:30p'm'.Theareahadbeen
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                                                                            was provided to her
                                                                                                 by
                                      going near her home. No information
                      prevented from
taped off and she was
                                                                                  of her sons or her
                                                   She was not able to see either
                      offrcers present atrhattime.
 the numerous police

mother.

 I72.4¡officertransportedConstancetothe4Tùpct.andshearrivedthereatapproximately
                                                                         was unaware what, if
                                  was initially provided to her, and she
 3:40 p.m'. Again, no
                      informatlon

                    at her home'
 anything, haPPened

 |T3Constanceonlyleamedthatatragedyhappenedatlrerhomewhenanofftcerwas        same trme
                                        homicide"' This was overheard at the
                   was coming from "the
                         he
  overheard sa)rrng that
                                                                            she told constance
                                patsy upstairs. when patsy saw her daugþter
  porice officers were bringing

  "theY killed Mar1ey'''

   lT4.UnknownpoliceofficersphysicallyremovedPatsyfromtheafea,separatingherfrom
                                                                        trying to find
                                                                    frorn room to room
                           patsy  in a locked room. constance went
   constance. They praced
                                                                               police ofñcer opened a
                                                on several doors. Eventually a
                            cryrng,and banging
   her mother, screaming ,
                                                                            grabbed patsy to pull
                                                                                                  her
                                           constance reached for her and
                         mother inside,
    door, and seeing her

    outside the room'

     115'ApoliceofficergrabbedPatsyandpulledherbackinsidetheroomandciosedandlocked
                                                       grabbed constance by
                                                                             her anns and pulled
                                       of the room and
                              came out
    the door. Another officer
                                                                    her to fall to the floor'
                                                her mother, and causing
          back behind her, restraining her from
     them

      I76'Constancewascryingandscreamingto..letmego,,butnoonecametoherassistance.

     ll,T.PoliceofficersattheprecinctdidnotprovideanyinformationtoConstance,includingthe
                          or her son Chinnor'
     location of Ramarley

      |TS,Ramarleywaspronol}nceddeadtt3.53p.m',whileConstancewasatthe4Túprecinct.
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                                   the precinct' andwhenhetoowasnotprovidedanyinformation
r79   Franclot Graham arrived at
                                                            go back to the scene of the
                                                                                        occufronce ln
                               connie  left the precinct to
from police officer(s), he and
                                  and to find Chínnor'
an attempt to learn what happened
                                                                   precinct for a'nost seven hours'
                    patsy was  kept  in a rocked room inside the
1g0. Meanwh'e,
                                                                                              at the
                                         and to see her daughter. when her attorney appeared
                                to reave
The porice ignored her requests

precincttoseeher,hetoowasdeniedaccesstoherforoverg0minutes'
                                                                                          even
                                                patsy. They cailed her a fucking liar and
                                   interrogated
1g1. police off,rcers aggressively
                                                                                     to demonstrate how
                                of water and  flicked their wet fingers on the walls
                            cup
 stuck their fingers in her
                                                                                         and that she was
                                claimed  that  Rarnarley  threw a gun out the window
 blood splatters. They falsely

 trying to cover uP for him'

  IsT,TheofficersattemptedtogetPatsytosaythingswhichwerenottrue.TheyshowedPatsy
                                                                                   claimed that it
                                       upon information and beiief, was shot. They
                                   who
  a picture of another individuar,

  was RamarleY

  ls3.Patsywasnotallowedtoleavetheprecincttoalmostl0:00p.m'.

   184'AfterPatsywasreleasedshewenttoahospitalandwastreatedfortrauma.
                                                                    slreetthey could not get into
                        and Franclot arrived back at 749 East229fh
   1g5. when constance
                                                                               acaptain brought
                               the whereaboutsof her son, chinnor' Eventually,
   connie,s house or determine

      Chinnor to Connie'

      ls6.Connie,PatsyandChinnorwerenotallowedaccesstotheirhomeforover43hours'
                                                  the interior and exterio t lo 749
                                                                                    Easl229ú
                                            the police searched
      tg1   .   upon information and belief

                                    recover any weapon'
      Street lor 2 days and did not

       l83.AlunarmedRamarleyGrahamwasshotandkilledinhisownhomebyPoliceofficer
       Case 1:13-cv-02015-PKC Document 1-1 Filed 03/26/13 Page 37 of 66
                                                                                      city   and/or NYPD'
                                                         of his emproyment for the
Richard Haste, while he   was actíngwithin the scope
                                                          team members of the 47ú
                                                                                  pcr',including the
1gg.    It is clear that on February   2,zo,'the sNEU
                                                                          Stop and Frisk guidelines'
          defendant police  officers  herein, were operating under
named
                                                                                                   and/or
                                  training  that   was   estabiished, implemented, enforced
procedures, directives andlor
                                                                     and berief it was their (the
                                                                                                  off,tcers
                                       Kerly,  . upon  information
overseen by defendants city,
                               and/or
                                                                                             home. upon
                                    and/or frisk  Rarnarley Graham before he entered rris
of SNEU) intent to stop,  question

                                                         Ramarley Graham on February
                                                                                            2' 2012' was
                         the ofñcers  conduct    toward
 information and belief
                                                                                          training andlor
                           suspicion  but  was   due to insufficient and/or ineffective
 not based on reasonable
                                                            quotas andlor the need to meet
                                                                                                minimum
  supervision, and/or the need  to meet  arrest/summons            '
                                                                                                        also
                                                                     and belief the officers conduct
  ,,performance standards of arrest activity',. upon i'formation
                                                                                application of the
                   racial profiling, gender and ageprofrling and discriminatory
 was the result of

                                   and stop and füsk'
  law including search and seizure

  lg0.Uponinformationandbelief,thedefendantsattemptedtocover-uptheirmisconduct'
                                      issued a statement through
                                                                 police spokesman Paul Browne'
                           the police
  191. After  the shooting
                                                                                                   dealing' The
                                                 jackets  were  inves ttgatingstreet comer drug
  tirat piaincl0thes officers weanngNypD
                                                                               toward his home' and an officer
             Ramarley   Graham   took   off on foot and rounded a corner
   suspect,
                                                                              the officers as having "pursued"
             him  into the second  floor   apartment. Browne described
   pursued
                                                   ,,officer struggled with Mr. Graham near the bathroom'
             to his home,   and upon   entry the
   Graharn
                                                                                                and Al Baker of
                                              from   Browne    quoted by Matt Flegenheimer
                            The  statements
   before shooting him,,.
                                                                                                    the gun, a 9
                                           z, zorz,further    stated that "it was unclear whether
    the New   york  rimes   on Febru   aty

                                                                                        been separated when the
                                was   fi'ed  during   the struggle or if the men had
    millimeter semiautornatic

    shooting occurred"
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                                                                       2012' reported Paul Browne       as
       Sean Gardiner, of the    wall    Street Journal' on February 5'
1g2.
                                                                                            rushed into a
                                    inside Ramarley Graham's home'        "' "Mr' Graham
offering this version of the events
                                                                 drugs' Mr' Graham spun around
       floor  bathroom,  where he was possibly trytngto flush
second

                                 and the officer shot him once
                                                               in the chest after what, lr4r. Browne
when an  ofrrcer confronted him,

said, was a struggle'

                                  a law enforcement officiai,
                                                               upon information and berief Browne
193.    The  same articrequoting
                                                                                       and /or sealed
                        8 prior arrests, althougþ  most of the arrests were dismissed'
stated that Graham had
                                                                               public distribution' ln
                      been  available  to raw  enforcement personnel, or for
and shourd not have
                                          is in question'
 fact, the very accuracy of the statement
                                                                                 provided to him by one or
                            from   Browne    were) upon information and belief,
 rg4. Said staternents
                                                                                    statements that officers
                at the  scene   of the  incident, or obtained through a review of
 more officers
                                                                                   the intent to conspire to
                   aftermath    of the  incident. They were false and made with
 provided in the
                                                                                            justification for
           the true   facts  of the  incident in order to justify or to provide reasonable
 cover_up
                                                                            and syrnpathy against
                They were  made  with  the intent to sway public opinion
  the shooting.
                                   and in favor of the porice and
                                                                  with intent to interfere with due
  Rarnarrey Graham  and his family

  process of   iaw   andlor access to the Courls'
                                                                        arrest history could be accessed
  ß5.     upon information      and   belief the only way that Graham's
                                                                                 and unauthonzed
                                                retention of sealed information,
  would be t'rouglr the illegal androrimproper
                                                                                        known to
                             information by police personnel' Said concerns were made
  access and release of said
                                                                                   commenced an
                          Kelly,  but upon  information and belief he has not
  Poiice commissioner

   investigation into said violation'
                                                                                          to the facts
                                                       and misleading statements relating
   196.    police commissioner Kelly also issued farse
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                                                                                      Journal 2l5lrz) as
                             up  to the   shooting.  Kerly was quoted (wali Street
and circumstances reading
                                                                          pants when he emerged from
                                                                                                         a
                          the butt  of a gun peeking out of Graham's
saying officers observed
                                                                                           Grarrarn not to
                              ..the officers . .... .identified themselves and ordered
nearby house. Kelry    stated

                                                  on East zzgh street".
                                                                         "'when no one answered calls to
                                 into  his home
move, but the reenagerdashed
                                                                                to an officer present,
                      down   the  door,,'  Kelly further stated that' according
 open up, they broke
                                                                      yelled "show me your hands' show
                    and  belief  Jane  Doe or Sgt' Morris)' Haste
 (upon information

                          gun" before firing his weapon'
 me your hands" and "gun,
                                        made by       Kelly and Browne were false'
 ß1      The aforernentioned statements

 198'Kellylaterpartiallyretractedthestorypromotedthrouehh''andBrowne'spnor
                                                                                       the apartment
                                                           had been no struggle inside
              He   adrnitted on Febru ary 5,2Or2thatthere
  statements.
                                            offered no explanation, nof, upon information and belief
                                    He has
  prior to the firing of the shot.
                                                           information'
  conducted an investigation
                             into the origin of said false

   Ig9'Irryetanotherarticle,cbslocal.com,datedFebruary4,zolzitstatesthataccordingtothe
                                                                                     cops' he runs'
                                                           and that when he sees the
  ,,police,, Graham was acting suspiciously on the street'

                              entirely false'
   Again, said statements are
                                                                                              york
                                              were  slowly released by trre police. The New
   200. Additionat details of the shooting
                                                                         z0rz' reported that sNEu
                         written by Joseph Goldstein dated February zz,
   Tirnes, in an article
                                                                                              to believe that
                                  moving his hands          in   a certain way that lead them
   team rnembers observed Graharn

    he was armed.
                                                        quoted as stating          that "on the afternoon of
     z0r.   rn the same articie   commissioner Ke'y was
                                                                                    plains Road and
                                            team set up opposite abodeganear white
                                observation
    February z,z,rzthe unit,s
                                                                              team observed Graham
                      in the Bronx. Kelly went on to say that the observation
     East 2'gfhstreet
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                                                                         team' who were tn a caÍ'j
     two füends  emergefrotn  the store and walk north' The observation
and
                                                                    that Graham may be armed'
          them  and radioed  their  suspicion to the back-up team
foll0wed
                                                                                              they
                                 a second  transmission (on a nalrow tactical frequency) that
According to Kelly, they made


observed the butt of a gun in
                              Graham's waistband'


zO2,UponinformationandbelieftheNYPDhaveavideoofRamarleyGrahamandtwofriends
                                                                              possession of                 a
                 prains Rd. No gun is visibre in his waistband. He was 'ot in
walking on white

weapon.
                                                                                     what the contents
                       what, if any, "observattons" \ilere in fact made that day' or
 203. It is unknOwn,
                                                                               is that if they claimed
                       if any'  were at the tirne' what is known' however'
 of the transmissions,

 Ramarleypossessedagun,theywereterriblywrongandwithoutbasis.RarnarleyGrahamwas

 not arrned with a gun or anYthing'
                                                                                        a suspect with a gun to
                 information  and  belief it is usual police practice upon seein
  204.     upon
                                                                                             offrcers from that
                      on a wide  band   frequency     that would be picked up by the
  call for  back_up
                                                                                belief, neither the observation
            and neighboring   precincts.  However, upon information and
  precinct
                                              .,apprehension team" officers called for back up on a wide
            from  the sNEu   team,  nor  the
  officers
                                                                                 would sumfnon back up from
         transmission,  which  would  be recorded and memori alized'and
  band
                                                                                                          police
                             Moreover,   the  defendants   failed to calr for, or wart for, a spectahzed
   other units to the scene.
                                                                                                         door to
                           down   doors   and   clear  rooms,   before forcibry breaking down the
   team trained to take

                                at gunpoint'
   Ramarley's home and entering
                                          a warrant when they had the
                                                                      house surrounded and there
    205,   The SNEU team failed to secure

                                the "suspect"'        i'e' Ramarley Graham'
   was no mgans of "escape" fot
                                                                                          and
                           including Haste' Morris and/or Jane Doe' who' upon information
    206.    The sNEU team,
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                                                                                                 to
                                                                  have exigent circurnstances
            not dressed in  required regulation uniform, did not
belief were
                                                                          patsy and chinnor'
                              the home occupied  at the time by Ramarley,
                           to
knock down the front door

2oT.RamarleyGrahamhadnotcommittedanycrime'Avideoofthedeceaseddoesnotreflect
                                                                  it shows that Ramarley
                                 the police assertions otherwise,
                                 contrary to
that he was acting suspiciousry.
                                                                              walking up to his front
                        from   the police. In fact it shows Graham casuarly
Graham was not running
                                                                                  police "pursuif" if
                             it behind  him.   upon    information and berief the
door, opening it and closing

 any,wasunknowntoRamarley'Itwasintemrptedbyalmostfourminuteperiodwhilepolice
                                                                           the building through       a
                     the defendants, using guns, threats and force entered
 officers, including
                                 in Ramarley's front door'
 neighbor's apartment and kicked

  0os.Thepoliceofficersdidnothaveprobblecausetobreakdownthedoorto,andenter
                                                            2'2012'
                               and Patsy's home on February
  Constance, Ramarley, Chinnor

  2og.Atnotimeduringtheeventsdescribedherein,orastheeventsoccurred,didHastehave

  probablecausetodischargehisfirearm.Heneverwasinimminentdangerofanyharm.
                                                                                       proper training
                               belief the defendant  police officers did not have the
   2t0. upon information and
                                                     February 2' 2OI2' causing
                                                                                    or contributing to
                           activities  on  or before
  to conduct SNEU related
                                                                                     the home'
                           and illegal entry i'to the
                                                      home a'd the actions inside
  Ramarley  Graham's death
                                                                       violated          guidelines on
                           and  belief  the defendant poiice officers
    211. upon information                                                       'NEU
                                                                             and iilegal entry into the
                            or contributing   to Ramariey Graharn,s d.eath
   February z,zolz,causing
                               the home'
   home and the actions inside

    2l2.Uponinformationandbelief,onFebruary2,Zll2,Hastewasnotwearinghisregulation
                                                                   Bronx' New York'
              as required when he   entered 149 E'asl229th Street'
    uniform

    2l3.UponinformationandbeliefotherteammembersofsNEU,onFebruary2,2012,were
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working in plain clothes in violation of SNEU guidelines'

        The police department later admitted that Haste did not have SNEU
                                                                          training or plainclothes
2r4.
training before his assignment to SNEU. Kelly later ordered a citywide audit
                                                                             of all SNEU teams'

215.    Upon information and beiief      it was a com.mon    practice of the NYPD, and precinct

                                                                         SNEU teams before they
commanders and supervisors to assign officers to plain clothes teams and

                                                                               SNEU training
receive proper and required training. Upon infonnation and betief the required

                                                                       transactions, and search
includes, but is not limited to how to recoguze drugs and hand to hand

                                                                      a week'
and seizure law. Upon information and belief the training takes about

        Upon information and belief it was common practice of the NYPD to permit officers
                                                                                          to
216.
participatein the SNEU team an-ests for months without receiving required training'

211.    Upon information and belief, the city, Kelly and DeEntremont acted with deliberate
                                                                                were unfamiliar with
indifference to the fact that officers did not receive their required training,

                                                                    and the likelihood that their
SNEU guidelines, were not properly numbered, dressed or supervised,

                                                                              which occurred on
inexperience and unpreparedness would result in the constitutional violations

February 2,2072.

 21g. Upo¡ infonnation      and belief Haste, Morris, Doe and other rnembers of the SNEU team

                                                                                   on February
were operating under an arrest or suÍlmons quota system or performance requirement

2,   ZOI2. The defendants acted   with deliberate indifference that this quota system or policy would

                                                                                in the constitutional
result in constitutional violations of citizens of New York City. It did result
                                                                             the assault of Patsy
violations of the plaintiffs herein, including the death of Ramarley Graham,

 and the extreme emotional distress of Patsy and Chinnor who were in
                                                                     the zone of danger when the


 shot was fired.
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2I9.    James       Gill, the medical examiner, listed the cause of Ramarley Graham's death as a

gunshot wound of chest with perforation of the aorta and lung. Cause of death HOMOCIDE. The

time of shooting 3:01 p.m.. The time of death 3:53 p.m.

220.    Is is hereby alleged pursuant to CPLR 1603, that the hereinafter causes of action              are

exempt from operation of CPLR 1601, by reason of one or more of the exemptions provided by

CPLR 1602.

                                              DAMAGES

22I.    As a direct and proximate result of the said acts of the defendants, Ramarley             Graham

suffered the following damages:

        a.         Violation of his rights under the First, Fourth, Eighth and Fourteenth Amendments

to the Constitution.

        b.         Loss of life and liberty

        c.         Discrimination based on race, gender andlor age

        d.         Pre death conscience pain and sufFering

        e.         Emotional and psychological distress and horror

        e.         Loss of enjoyrnent of life

       f.          The right to be secure in his person and free from the use of unreasonable force

       g.          The right to due process of law

222.   As    a   direct and proximate result of the said acts of the defendants, Patricia Hartley suffered

the following damages:

       a.          Violation of her rights under the First, Fourth, and Fourteenth Amendrnents to the

Constitution.
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       b.        Loss of physical libertY

       c.        Physical and emotional trauma

       d.        Pain and suffering

       e.        Extreme emotional distress

                                                                            Chinnor Campbell
223,   As a direct and proximate result of the said acts of the defendants,

suffered the following damages
                                                                                            to the
       a.        violation of his rights under the First, Fourth, and Fourteenth Amendments

Constitution.

       b.         Loss of privacY

        c.        Physical and emotional trauma

        d.        Pain and suffering

        e         Extreme emotional distress

                                                                             constance Malcolm
224     As a direct and proximate result of the said acts of the defendants,

suffered the following damages:

        a.        PhYsicai and emotional trauma

        b.        Pain and suffering

        c.        Extreme emotional distress

        d.        Loss of EnjoYrnent of Life

            e.EconomicDamagesincludinglossofincomeandsupport

            f.    Humiiiation and embarrassment

            g.Lossoflove,nurture,care'servlces,affectionandcompanionship
                                                                                 Franclot Graham
 225        As a direct and proximate result of the said acts of the defendants,
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suffered the following damages:

        a.       Loss of EnjoYment of Life

        b.       Economic Damages including loss of support

        c.       LOss of love, nurfure, care, services, affection and companionship

        d.       Humiliation and embarrassment

        AS AND FOR A FIRST CAUSE OF ACTION ON BEHALF OF CONSTANCE
         N{ALCOLM, AS A-DMINISTRATRTX OF TIIE ESTATE OF RAN{ARLEY
                  GRAHAM FOR \TRONGFI]L DEATH

226.    The plaintiff, "Estate" repeats and realleges each and every allegation set forth above
             .,1,,through ,,225" inclusive with the same force and effect   as   if more fully   set forth at
nurnbered

length herein.

                                                                                        as a
2Zl.    That on February 2,2012, defendant Haste, actíng in the scope of his employment

                                                                                       inside
New york City police Offrcer, aimed at, shot at andkilled the decedent Ramarley Graham

the decedent's home.

228.    The shooting was without probable cause'

229.    The decedent was unarmed'

230.    The decedent had not committed a felony

23I.    The decedent had not committed a crime.

232.    The decedent was lawfully in his home'

        Haste, Morris anð.lor Jane Doe, while acttngin their official capacities as New York
                                                                                             City
 233.
                                                              ,,Cjty, and ..NYPD,,, forcibiy entered
Police offrcers and in the scope of their emplo¡rment for the

the home without awanant and without permission or an invitation to enter.

 234. The shooting of Ramarley Graham \¡/as performed         knowingly, intentionally and willfully'
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235.    The shooting was performed recklessly and in a manner that evinced a gross disregard to

hurnan life.

236. The shooting         was performed without reason or provocation.

23j.    The aforementioned shooting resulted in the death of Ramarley Graham.

Z3g.    Ramarley Graham was survived by his parents, Constance Malcolm and Franclot Graham.

Z3g.    Constance Malcolm and Franclot Graham suffered a pecuniary loss, and a loss of

assistance, a loss of future support and assistance and a loss of household services by reason of
                                                                                                  the


death of their son, RamarleY.

240.    That by reason of the aforesaid, Constance Malcolm, administratrix of the Estate of
                                                                                jurisdictional
Ramarley Graham, demands judgment against the defendants in a sum exceeding the

limits of all the lower courts.


        AS AND FOR A SECOND CAUSE OF ACTION ON BEHALF OF CONSTANCE
        MALCOLM, AS ADMINISTRATRTX OF TIIE ESTATE OF RAMARLEY
        GRAIIAM FOR ASSAULT AND BATTERY AND CONSCIENCE PAIN AND
          SUFFERING


 241.     The plaintiffs repeat and realleges each and every allegation sot forth above numbered      "l"
through
          1.240,,
                    inclusive with the same force and effect as if more fully set forth at length herein'

 242.     Ramarley was assaulted and battered when he was shot at approximately 3:01 p'm-, on

February 2,2012, by Poiice Officer Haste'

 243.     The shooting was performed knowingly, intentionally and willingly.

 244. The shooting        was without probable cause.

 245.     Haste was acting within the scope of his ernplolrnent, with the defendants "City'' and
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.T{YPD".

246. The shooting was performed in the presence of, and under the supervision of, Haste's
supervisor, Morris, who failed to inten,ene or follow propff procedure.

24j.   Morris, allowed Haste to forcibly enter the subject premises with his gun drawn          and


loaded, without probable cause, and without a warrant.

248. Morris was working        within the scope of his emplo1'ment with the defendants "city'' and

''N|YPD".

24g.    Ramarley's grandmother, Patsy, witnessed Ramarley move his limbs before she was

physically and forcefully pushed away by the police.

250.    Upon information and belief Ramarley was conscience and suffering between the time he

was shot and the time he was pronounced dead.

251. The time of Ramarley's death is listed at3,53 p.m., or 52 minutes     after he was shot.

252.    Upon information and belief the decedent suffered conscience pain and suffering prior to

his death.

253. That by reason of the aforesaid, the plaintiff,   Constance Malcolm, as administratrix of the

Estate of Ramarly Graham demands judgment against the defendants          in a sum exceeding the

jurisdictional limits of all the lower courts'


AS AND FOR    THTRD TIIROUGH FIFTH CAUSE OF ACTION ON BEHALF OF
                  A
CONSTANCE MALCOLM, AS A-DMINISTRATRIX OF TTIE ESTATE OF RAMARLEY
GRATIAM, CONSTANCE GRAIIAM INDIVIDUALLY, AND FRANCLOT GRAHAM
TNDIWDUALLY AGAINST POLICE OFFICERS HASTE, MORRTS, HORNE, JARVIS,
JANE DOE, AND OTTIER POLICE OFFICER JOHN DOES, INDTVIDUALLY AND AS
POLICE OFFICERS LTNDER 42 USCA 1983, L985
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254.      The plaintiffs repeat and realleges each and every allegation set forth above numbered
                                                                                                               "l"

through
          ,,253,, inclusive with the same force and effect as        if more fuily   set   forth at length herein'

255.      That on February 2,2012, the defendants, acting under color of State law, violated the
                                                                                    in that they;
Federal and State civil and constitutional rights of the decedent, Ramarley Graham,

          a. deprived the decedent of     life and liberty without   due process of    law

          b. entered the decedent's home without an arrest or search warrant

          c. entered the decedent's home without probable cause

          d. entered the decedent's home without exigent circumstances.

          e. assaulted and battered the decedent

          f. used excessive and deadly force against the decedent

          g. conspired to cover-up the shooting of the decedent

          h. illegallY seized the decedent

          i. raciaily profiied the decedent

          j. profiled   decedent based on age and gender

          k. deprived the decedent of the right to be free from the intentional use of un¡easonable

          force

          1.   deprived the decedent of the right to be free from the intentional use of excessive force

          m. deprived the decedent of the right to be free from unreasonable search and seizure

          n. violated the decedent right to privacy

 256.     The defendants, including the named defendant police offtcers, al                     ùl   relevant times

hereunder acted within their authority as law enforcement ofñcers within the employ
                                                                                    of the

 defendants,     "Citf'   and   "NYPD".
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25j.     The defendants conspired with one another to deprive Ramarley Graham of his
                                                                            free from unreasonable
constitutional rights: to be free from tire intentional use of force: to be

search and seizure, to be free from serious physical injury, to be free
                                                                        from discrimination, and to be

secure in his person and free from unreasonable and excessive force'

                                                                                        to cover up
25g.     The defendants further violated the civil rights of the decedent by conspiring

the facts and circumstances of the shooting'

259. The defendants'          actions are not privileged or immune.

                                                                                              the
260.     That said acts or actions resulted in unlawfully attempting to stop Ramarley Graham,

                                                                             seizure of
unauthorized and unlawful entry into Ramarley Graham's home, a 4'h Amendment
                                                                      pain and suffering,
Ramarley Graham, shooting Ramarley Graham, and causing him conscience

resulting in his death.

 261^ That by reason of his death, Ramarley, as well as his surviving parents,              Constance

                                                                               but not limited to
Malcolm and Franclot Graham, sustained a loss of enjolnnent of iife, including

loss of love, support, nurture, care, services, affection and companionship.

                                                                                              of the
 262.    That by reason of the aforesaid, the plaintiff, Constance Malcolm, as administratrix

Estate of Rarnarley Graham as and for a Third Cause of Action, Constance
                                                                         Malcolm individually

                                                                                               Cause of
as and   for   a   Fourth Cause of Action, and Franclot Graham individually as and for a Fiffh
                                                                      jurisdictional limits of all
Action, demand judgment against the defendants in a sum exceeding the

the lower courts.

         The plaintiffs seeks damages as well as attorneys fees, costs and punitive           damages
 263.
 pursuant to 42 USCA 1983,1988.
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ASANDFORASIXTH,SEVENTHANDEIGHTHCAUSEOFACTIONONBEIIALF
                                              OF TIIE ESTATE OF
OF CONSTANCE N{ALCOLM, AS ADMINTSTRATRIXCHINNOR CAMPBELL' BY IIIS
RAMARLEY GRATIAM, PATRICIA HARTLEY' AND
MOTHER AND NATÛRAL GUARD N CONSTANCE
                                              MALCOLM AGAINST
                                                 LIABILITY UNDER
THE CITY, KELLY AND DEENTREMONT, FOR SUPERVISORY
42 USCA 1983


                                                             arlegation set forth above numbered "1"
264.       The plaintifß repeat and realleges each and every

            ,,263" inclusive with the same force and effect as if more fully set forth at length herein'
through

265. upon information and belief Kelly           rilas, at all relevant times hereunder' in charge of the

                                                    hiring, testing, psychological testing and
New york City police Department and responsible for
                                                          promotion, discipline and oversight of its
analysis, training, instruction, supervision, assignment,

                                                     Jane Doe, and various Does named herein'
officers, including Haste, Morris, Horne and Jarvis,
                                                         at all relevant times hereunder' was the
 266.       Upon information and belief DeEntremont was,

                                                          the Street Narcotic Enforcement Unit' He
Deputy lnspector and in charge of the 47th pcl.,including
                                                            assignment, testing' promotion'
was responsible for the training, instruction, supervision,
                                                          including defendants Haste' Morris' Horne'
discipline and oversight of all officers at his comrnand,

Jarvis, Jane Doe and various other Does narned
                                               herein             in trreir ficiticious capacities as their

identities are presently unknown'
                                                                      officer prior to his hire with
 267   .    upon information and belief Haste was an Auxillary Police
                                                   failed to obtain or review Haste',s complete
 the NypD. Upon information and beiief, the }r-ypD
                                                       police officer, including but not limited to
 employrnent files from his employrnent as an Auxilary

 reviews, complaints, background and testing'
                                                                       testing exam to become a New
 268.       Upon information and belief Haste failed his psychological

                                                         promoted to be a police officer'
 York city Police officer, but nevertheless was hired or
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                                          and/or Kelly was aware that the system of
269. upon infonnation and belief the city
                                                                                              and
                                        testing and analysis of new recruits was inadequate'
background checks, and psychological
                                              unqualified recruits, yet they acted with deliberate
often resurted in the hire of psychorogrcalry
                                                                                           vetting
                                                and provide a rnore complete and thorough
indifference to the need to revamp the system,

                                       monitoring, testing, and counseling while
                                                                                   in service'
system for new recruits, and continued

 2T0.Uponinformationandbelief,theCityand/orKellyknewthatthecurrentsystemwould
                                                                                       resulting in
                                           of questionabre psychological makeup, often
result in the hinng of unqualified persons

theirparticipationinfalsearrests,discourtesy,excessiveuseofforce'illegalsearchandseizure'
                                             acts of constitutional viorations.
                                                                                yet the city,
warrantress  entry  into hornes, and  otrrer
                                                                                and to the need to
                                      deliberate indifference to this knowredge
 DeEntremont, and/or Kerly acted with

                                            these officers, including but not timited to
                                                                                         retesting
 monitor and closely scrutinize and monitor

 these officers

 2ll.uponinformationandbeliefthecityand/orKeliyknew'orshouidhaveknown'thatHaste
                                                                                         assigned to
                                        unqualified to act as a police officer' or to be
 was psychologically and/or emotionally
                                                                                          caused, or
                                            deriberate indifference to the knowledge
 the SNEU unit on February 2,2012. Their
                                           2OI2 as set forth herei'n'
 contributed to the er¡ents of February 2'

 2T2.Further,uponinformationandbelief,HastedidnotreceiveallrequiredstreetNarcotics
                                                                                  team'
                                      was placed in the field as part of the SNEU
  Enforcement unit training before he
                                                 the 47ù pct' was aware that Haste did not
  273. Upon information andbelief DeEntremont of
                                                                                           as part of
                                     yet he allowed him to participate in field operations
  receive the required SNEU traimng,

  the SNEU team.
                                                                                             training
                                                   Doe andlor Home not receir¡e all required
  274     upon information and belief Jarvis, Jane
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                                                the SNEU team' Upon information and belief
before they were placed in the field as part of

                        tbe 47th pct. was aware that Home,     Jane Doe and Jarvis did not receive the
DeEntremont of

required training yet allowed them to pafücipate
                                                 in fie1d operations as part of the SNEU team'

                                                             and DeEntremont routinely did not enforce
215. upon information and belief, the city, Kelly
                                                before Haste, Home, Jarvis, Jane Doe and others
the requirement of cornpletion of SNEU training

were perïnitted to participate in SNEU team field
                                                  operations'

                                                                                  had improperly defined
 2:,6. Upon information and belief the City, Kelly and/or DeEntremont
                                                             to, or remaining in the Street Level
criteria for police officers applying to, and being accepted

Narcotics Teams, or SNEU units
                                                            a SNEU team,it was often customary that
 277   .    Upon information and belief, once accepted into

                        receive their required training while in the unit,
                                                                           which could take months, and did
the officers      wil
                                                   their field deployment within the unit' As             a
 not receive their complete sNEU training prior to
                                                not completed their required training, yet were
 result numerous officers assigned to SNEU have
                                                                         on February 2' 2012' Upon
 engaged     in SNEU operations, including the defendant police officers
                                                             outside SNEU guidelines on
 information and belief the defendant ofhcers were operating
                                                                            316-36 which reQuired:
 February     z,2or2,in that they were in violation of Administrative Guide

            a.theattendanceinatrainingcoursegivenbyPatrolBureauServices

            b.atleastTuniformedmembers,inciudingonesupeñ¡isorwhocompletedthetraining

            c,thepresenceofaprecinctsupervisorwitlrthemintirefield
                                                                      team, to be dressed in regulation
             d.         off,cers who were not part of the observation

             uniform
                                                                         violations only
                        SNEU teams were limited to enforcement of street
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                                                          2, 2OI2' the defendants' city'
218. Upon infonnation and belief, on or prior to February
                                         acted with deriberate indifference to the need to,
DeEntremont, andlor Kelly failed to, and

                                            whether police ofFtcer, including SNEU officers'
estabiish and control or systetn to measure

                                                were familiar with the guidelines' received proper
received their training, mastered the training,

                                           potential situations that may unfold in the field                    as
supervision, and were prepared to meet all
                                                stop and frisks' exigent circumstances' use of
SNEU officers, including but not limited stops,
                                                      probable cause, and use of deadly force'
force, calling for back up, establishing a perimeter,

2Tg.uponinformationandbeliefthedefendantswere,priortoFebruary2'2012'awareof
                                                                                            to
                                         members, including those of the 47ú pct', relating
numerous compraints related to SNEU team

                                                    and violations of civil and constitutional rights'
illegal search and seizure, excessive use of force,
                                                   corrected with proper training, oversight,
which should have been, but was not, addressed and
                                                              gnment, and gui deline mo difi cation'
 di   s   cipline, investi gati on, monitoring,   reas   sr



 2g0.          The New   york City Civil Liberties Union analyzedthe policing policies of the New York

                                                         994-2006. Their report, titled Mission Failure:
                                                                                                         Civilian
 city Police Departrnent for the years              1



 Review of poricing in New
                                        york city             1994-2006   by Robert perry higlrlights the numerous

                                                            These deficiencies' we submit' are' and
 deficiencies in police training, oversight and discipiine'
                                           yet the City and/or Keliy did just that. Among the issues
 were, to numerous and critical to ignore.

                                               and belief the                    city and/or Kelly had knowledge of'
 raised in this repofi, which upon information

 were

                a.in2005,soutofeveryl0complaintsfiledwiththeCivilianComplaintReview

  Board were made by a rninority, with blacks
                                              comprising over 500/o of all complaints

                                                                      Review Board increased 65% from
                b.      Complaints frled with the civilian cornplaint
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2000 to 2OO5,with 2006 rising another l3o/o
                                                                     percent in2006
          c.      the number of excessive force complaints rose 26'8

          d.      ,,the rnost frequently       filed allegations involve serious abuse of authority-improper

                                                       of premises; threat                 of   arrest; threat of
stop, frisk and searcir; unauthori zed entry or search
                                                        between a police officer and a civilian"
force:poiice actions that could provoke a confrontation

page 4.

                                                                       30% of poiice officers
          e.      The NypD takes no disciplinary action against almost

named     in   substantiated   ccRB complaints. Axd when disciprine was imposed, most officer
                                                               misconduct (534 cases of the 1607
received just a slap on the wrist, i.e. instructions regarding

officers who were
                      .,discipline ó,'   ili    officers received a cornmand discipline , which may involve

                                                     vacation days, In 2006 "instructions"
nothing rnore than a verbal admonishment, or loss of

comprised 72% of all disciplinary actions'
                                                                           reports 2002 and2004,
          f.       citing the New york City Commission on Police Comrption

                                               does prosecute officers for substantiated   ccRB complaints, it
 it found that even when the NypD

                           zeal and less preparatton. complainants and witnesses are
                                                                                     not contacted'
 does so with     little
                                                            skills fail to rneet minimum standards
 documentary evidence is not requested, and the prosecutors

 of professionalism'
                                                                                 when a substantiated
           g.      The police department is far less likely to impose discipline

                                                                  25)
 complaint involves apolice officer's use of excessive force þage

           The NyCLU report concluded that the City has failed to
                                                                  establish meaningful
  zgL
 accountability for police misconduct'
                                                                                    in
                 NycLU report also cited the New York city Public Advocate's report
                                                                                                            2000:
  zg2.     The
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Discipli'ing police: Solving the Problem of Police Misconduct, Tlll00, wherein the
                                                                                   report

                                                                                 within the
conciuded that a police officer's use of force "was no impediment to advancement

          Said repofi contains nunìerous examples where officers with substantiated
                                                                                    complaints       of
NypD,'.

excessive force had received promotions'

zg3.    Thus, police officers knew that their conduct would engender token
                                                                           scrutiny        if a civilian

                                                                       February 2,2012,that
complaint u,as made. They frrther knew, and acledwith the knowledge on

there was little chance    of any meaningful discipline even if a complaint was substantiated'

Consequently, upon information and belief, Police Officers felt that
                                                                     they were free to engage in


stops and frisks without reasonable suspicion, to engage    in a warrantless entry into citizens home

                                                                 justified, to use excessive force, to
without probable cause, to use force when it was not required or

                                                                        "blue wall of silence", to
intimidate witnesses to police misconduct, to engage in a conspiracy or
                                                                                       "furtive
frle false reports or give false statements, and to use such catch all phrases such as
                   ,,displayed what appeared to be a gon", to justifu their unconstitutional conduct,
movements,,, or

because said conduct was tolerated by their supervisors,    Keliy,   andlor DeEntremont'


 284.   Defendants    city, Kelly and/or DeEntremont, knew, or          should have known with the

exercise   of due diligence, that the improper acts, conduct and procedure, as stated in            this

                                                                                officers' on
complaint, engagedin by Haste, Morris, Jane Doe, Home, Jarvis and other unknown

February 2,2012 was iikelY to occur'

          It is subrnitted that had the defendants, as supervisors, taken the proper remedial
                                                                                              measures
 2g5.
                                                                                            gender
 to guard againstthe disparate treatment of minority citizens, to guard against racialbias,
                                                                          probable cause, use of force,
 bias, age bias, to adequately and properly train officers in the laws of

                                                                     the requirements of arrest and
 use of deadly force, search and seizure law, exigent circumstances,
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                                                                          effective protocol to
search warants,  to provide in fie1d simulations, to estabiish proper a'd
                                                and detennine each officers knowledge of and
review police actions or omissions, and to test
                                                                         Enforcement Unit
compliance      with New York Police Patrol Guidelines, Street Narcotics

Guidelines, and Administrative Guidelines,
                                           to make sure the officers assigned to sNEU were

                                               constitutional violations and injuries which
properly dressed, supervised and numbered, the
                                           happened'
occurred on February 2,2012 wouid not have

 zs6.ThehiringandsubsequentassignmentofHastebythecity'NYPDand/orKelly'andthe
                                                                             and complete the training     of
failure of the city, Kelly    ,   andlorDeEntremont to supervise, discipline
                                                                                          2'
                                           the other members of the SNEU team on February
Haste, Morris, Jarvis, HOrne, Jane Doe and

                                                 indifference, causing the violations of Rarnarley
 2072,amounted to gross negligence or deliberate

 Graham,s,PatncíaHartley,sandChinnorCampbeli'sconstitutionalrightsasstatedwithinthis

 complaint.
                                                            Constance Malcoim, as administratrix of the
 287   '    That by reason of the aforesaid, the plaintiff,

                                         Sixth Cause of Action demands judgment against
                                                                                        the
 Estate of Ramarley Graham, as and for a

 defendants     in   a sum exceeding the   jurisdictional limits of all the lower coutts'

                                                            Patricia Hartley, as and for a Seventh Cause of
 288'       That by reason of the aforesaid, the plaintiff,

                                                in a sum exceeding the jurisdictional iimits of all
 Action demands judgment against the defendants

 the lower courts

  zsg.Thatbyreasonoftheaforesaid,theplaintiff,constanceMalcolm'asmotherandnatural
                                                                                     judgment
 guardian of chinnor campbell, a minot, as and
                                               for an Eighth cause of Action demands

                                                                                           lower courts'
  against the defendants     in a sum exceeding the jurisdictional rimits of     al1 the


                                                             fees, costs and punitive damages pursuant
  2g0.      The plaintiffs seek darnages as well as attomeys
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to 4ZUSCA 1983,     1988.

                                                     ON BEIIALF OF
AS AND FOR A NINTH TIIROUGH TWELFTH CAUSES OF ACTION
CONSTANCE MÁ.LCOLM, AS A-DMINISTRATRIX OF THE ESTATE OF RAMARLEY
GRAHAM, PATRICIA IIARTLEY, AND CHINNOR CAMPBELL BY HIS MOTHER
AND NATUR,A.L GUARDIAN CONSTANCE I\{ALCOLM, AND CONSTANCE
MALCOLM INDTVIDUALLY, AGAINST THE CITY AND KSLLY FOR MONELL
LIABILITY UNDER 42 USCA 1983


291.   The plaintiffs, Estate or Ramarley Graham by Constance Malcolm, administratrix

( NINTH cause of action), Patricia Hartley ( TENTH cause of action), and Chinnor Campbell,
                                                                                           by

his mother and natural guardian Constance Malcolm (ELEVENTH cause of action), and

Constance Malcolm, individually, (TWELFTH cause              of action) repeat and realleges each and

every allegation set forth above numbered      "l"    through "290" inclusive with the same force and

effect as if more ful1y set forth at lenglh herein'

2gZ.    The plaintiffs allege that the defendants, City andlor Kelly, had customs, practices or

policies in place on February 2,2012 that included:

        a.      a stop and füsk poiicy that encouraged officers to stop citizens of the City of New

        York on less than reasonable suspicion'

        b.      racialiy profiling minority citizens for stop and füsk purposes

        c'engag¡nginstoppingandfüskingbasedonageandgender

        d.      stopping and frisking to meet arrest quotas

        e.      stopping and frisking to meet suÍìmons quotas

        f.      permitting the use of force within stop and frisk encounters, although the encounter

        does not result   in an arrest or sulnmons

        g.      using excessive force during stop and frisk
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                                                                                     procedures based
         g.         disparate appiication of stop and frisk guidelines, policies and

         upon race, gender and age'

                                                                                         minority
         h.         enforcement and targetíng the stop and frisk policy in predominately

         communities.
                                                                                                use of
         i.         failing to adequately analyze the reasons of reported stop, reported frisk'

         force

         j          condoning a code of silence to cover-up police misconduct

         k.         condoning witness intimidation to cover-up police misconduct

                                                                                                or file
         I          failing to discipline officers who provide false or misleading information,

         false rePorts

                                                                           silence' witness
2g3.     Upon information and, the latter customs, i.e. condoning codes of

                                                                       poiice officers to provide false
intimidatio nlreta¡atíon and failing to discipline offrcers had caused

and misleading information           if   and when police investigations are           in fact conducted.   Upon

                         ,,blue wall of silence" has been ingrained in NYPD police culture for
information and belief a

years.

                         Mollen Commission found that police perjury is the most pervasive fonn
                                                                                                of
2g4. In lgg4the
police misconduct       .ln   1996 the    police commissioner Howard safir issued an order that wamed

that offrcers who provide false information in the course of
                                                             police misconduct investigation would


be terminated..      yet, the aforementioned NYCLU report finds that the Order was rarely enforced'

 2g5.        The   NycLU   repor-t further states   "when   a   civilian objects to a police offtcer',s conduct, or

                                file a complaint against the police officer,     a   retaliatory arrest or suÍlmons
expresses an intention to

may fol1ow. This, they claim, is a common occurence, and did
                                                             in fact occur on February 2,2012'
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296.   Patncíagartley witnessed her grandson shot on February 2,2072' Her objections to the

poiice conduct were met with a physical assault and battery, threats, imprisonment against her will,

isolation, intimidation and mental crueity.

297.   The plaintiffs also allege that on or before February 2,2072, the City andlot Kelly acted

with deliberate indifference to the foilowing acts, actions, omissions, customs and practices of its

officers, including the defendant officers herein, which include:

        a.       stopping citizens of the City of New York on less than probable cause.

       b.        racially profiling minority cittzens for stop and frisk purposes

        c.       engaging in stopping and frisking citizens based on the subjects race, àge andlor

        gender

        d.       stopping and frisking citizens to meet arrest quotas

        e.       stopping and füsking to meet suÍlmons quotas

        f.       searching citizens on less than probable cause or reasonable suspicion

        g.       the use of force within stop and frisk encounters, although the encounter does not

        result in an arrest or summons, and/or justify the need to use force

        h.       disparate application   of stop and füsk guidelines, poiicies and procedures   based


        upon race, gender and age.

        r.       targeting the stop and frisk poiicy in predominately minority communities.

        j,       using excessive and unnecessary force

        k.       failing to report the use ofexcessive and unnecessary force

        1.       engagtngin a conspiracy to cover-up unlawful conduct

        m        illegal search and seizure
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       n.     promoting or assigning officers with incomplete training

       o.     violations of citizens 4ù and 14th amendment rights

       p.     witness intimidation

       q.      illegal accessing sealed information

       r.      discharging weapons in the presence of "innocent civilians"

       s.      illegal entry into citizens' homes

       t.      promoting officers who have a history of complaints made against them

       u.      permitting officers to break assignment without proper training.

       v.      denying witnesses to police shootings access to counsel

                                                                                    and monitoring
2gg.   Issues orracialprofiling, stop and frisk policy and the need for supervision

have long plagued the New   York City Police Department. In Daniels et. al' v' City of New York et

                                                                     the City were required via
a:,99 Civ 1695 Southern District New York, the defendants, including

                                                                                        origin
stipulation and Settlement to have a written policy regarding racial or ethnic/national
                                                                                   of New York' The
profi.ling that complies with the Constitutions of the United States and the State
                                                                                   monitor officers
\f1¡pD was required to supervise, train (including annual in-service training) and
                                                                                   have failed to
regarding this Racial profiling policy. Upon information and belief the defendants

                                                                            past the expiration of
comply with these requirements, and/or have not continued their application

the mandates of the StiPulation.

2gg.    The Daniels settlement also required all NYPD officers to    fill out stop,   question and frisk

                                                                                      suspicion. Upon
 activity,and to audit all records to insure that the activity is based on reasonable

information and belief the defendants have failed to comply with these requirernents
                                                                              police officers: in the
300.    As part of the Daniels settlement, the City was required to train its
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iegal and factual basis for conducting and documenting stop, question and frisk
                                                                                activity; in cultural


diversity, and i'tegrity and ethics, including departmental policies regarding false
                                                                                     statements,


reporting misconduct by other officers, and cooperating             in department   investigations' Upon

information and belief the NYPD has failed to comply with these requirements           as   well'


                                                                                 Profiling,
301.    As per Operations Order Number 11, issued March 13,2002 governing Racial

                                                                            that the contents
Commanding Officers, (such as defendant DeBntremont) are required to ensure
                  .,brought to the attention" of members of their command. Upon information and
of the policy are
                                                                             said information
belief the NypD did not define what "brought to the attention" meant, or how

was to be delivered. Further, by emphasizingthe basic requirement to deliver
                                                                             the message or


policy, rather than ensuring that the policy was understood and applied by those officers
                                                                                          who

                                                                                policy was not being
received it, they acted with deliberate indífference to the knowledge that said

applied in a manner that met constitutional muster'

 302.   The plaintiffs aliege that the City and /or   Kelly acted with fuither deliberate indifference to

the need to   criticaily analyzepsychologi cal dataand a recruits background, the need to report         and


                                                                           personnel files; the need to
record all psychological referrals and place said reporls on the officer's

                                                                                       retesting and
modify and provide more effective training, testing, gradrng, and if necessary require

field supervision, the need to provide propef legai advice and adequate academy supervision,

provide   in   service or in-field supervision, the need       to   adequately and zealously discipline

                                                                                     police officers
 non-complaint officers and precincts, the need to investigate, monitor, and analsze

 and precinct data, andthe need reassign non-compliant officers or cornmand
                                                                            officers,           if necessary'

 303.   That said deliberate indifference to the need to:
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                                                                                      of force,
a. train officers   in search and seizure 1aws, stop and inquire, probable cause, use

and use   of deadlY force,

                                                       and Íactical concepts
b. to grade and test to see if officers mastered legal

c. to ensure that each officer reads and understands
                                                     legal bulletins provided


d. to provide offrcers    with situational training for use of weapons

e. train off,rcers to use methods   to avoid the need to use deadly force

f.    analyze police shootings      to   determine   if   officer's actions prior to the shooting

contributed to need to use deadly force

g. properly discipline officers who       fail to follow police and administrative guidelines'

                                                        to use force or deadly force
h. discipiine off,icers whose actions escalate the need

      analyzedisparities of application of stop, frisks, and use
                                                                 of force as applied between
 í.
 whites and minorities,

 j. track, discipline, monitor, retrain and reassign officers who have questionable stop
                                                                                         and


                                                         witness intimidation, providing false
 frisk practices, use of force complaints, complaints of

 statements, among other violations, as reported by
                                                    number         of citizencomplaints' notices of

                                                                and complaints of fellow
 claim, lawsuits and/or dismissals of their arrests and summons

 officers,
                                                           they are out of the academy
 k. to retest officers knowledge of patrol guidelines when

                                               to gfadethe officers performance,   and not pass the
 L to provide situational simulations and

 officer until he or she has demonstrated adequate proficiency

                                                             engaging in a forcible warrantless
 m. to require officers to call for specialized units before

  entry into a citizen's home
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          n. to discipline officers who fail to repofi non-compliant officers or who         engage   ín   a


          conspiracy of silence; and

          o. to determine     if   police or law enforcement personnel are illegally accessing     sealed


          information,

          p. report all referrals for psychological counseling, and change the offìcers assignment         if

          required or necessary.

          caused or substantially oontributed to the events of February 2,2072, which include
                                                                                              the

                                                                                                use
illegal entry into Rarnarley's, Patsy's and Chinnor's home, forcible entry into their home, the

of excessive force, the use of deadly force, the subsequent police cover-up, including the illegal

access    of sealed information, the f,rring a weapon in the presence of Patricia Hartley and Chinnor

Campbell while they were             in the zone of danger, seizing and intimidating Patncia Hartley,

threatening patricia Hartley, assaulting and battering Patricia Hartley, falsely imprisoning Patricia

Hartley,    i'flicting emotional distress on Patricia Hartley, assaulting      and battering Constance

Malcolm, and inflicting emotional distress on Chinnor Campbell and Constance Malcohn.

304   .    The City andlor Keity were aware that the NYPD customs, policies and procedures, as well

as   their deliberate indifference to the unconstitutional applications of their customs, policies and

procedures, and need for reformation of its training, oversight, analysis, supervision, monitoring,

disciplini.g    and review would lead to constitutional violations of   its citrzerry, and did lead to said

vioiations of the plaintiffs constitutional rights on February 2,2012.

           a. In the case   of Ligon r,. City of New York, Rayrnond W. Ketly et al. Justice Scheindlin's

opinion and order filed 1/g/13, noted that the police training in laws of search and seizure            are


wrong. She sites as an example of inadequate training a Police Training Video (no' 5) which
                                                                                            she
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stated incorrectly advised police officers what      constituted     a   "Stop"'   and whether force' or the


threat of force mst accompany the police action to constitute a
                                                                "Stop"'

       b. In Ligon, Justice Scheindlin found fault in the police training video which
                                                                                      made

                                                                      she writes "By incorrectly
incorrect distinctions between "stops' and "arrests". In her decision
                                                                     are in fact not even slops, the
implying that the encounters lacking the characteristics of a arrest
                                                                 suspicion to perform the kinds of
video appears to train officers that they do not need reasonable

stops that   an   accurate reading   of the law would be classified as Terry stops' ln other words' this

video, ....,..trains officers that     it is acceptable to perform stops"" oI possibly         even arrests'


without reasonable suspicion", pages 126,I27
                                                                           unlawful stops at the
        c. Justice Scheindiin further found that "the evidence of numerous

hearing strengthens the conclusion that the NYPD's inaccurate
                                                              training has taught officers the

following lessons: stop and question fi.rst, develop reasonable suspicion
                                                                          later" Ligon          atl3I

                  information and belief the police lacked reasonable suspicion to
                                                                                   stop Ramarley
305. upon
                                                               if,   as they maintain, (which the plaintiffs
 Graham, or to "continue to chase" him at gun point,

             ,,ran" frorn them. At no time, however, did the police have probable cause to believe that
 deny), he

                                                          circurnstances existed that would
 Ramarley Graham had comrnitted a felony and that exigent

justify their forcible entry into his home absent     a   warrant issued by a Judge'

                                                                                  the lack of
 306.   The defendants, deliberate indifference is further evident by and through
                                                                information and belief the NYPD
 meaningful investigation and punishment of transgressors. upon

                                                               administrative trials, and when they
 lnternal Affairs Bureau, "lAB", investigations rarely lead to

 do, and the charges are somehow sustained, the punishment is
                                                              minimal, thereby lacking any

 deterrent effect.
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                                                                       approval of their supervisors
307   .   upon information and belief offtcers operated with the tacit
                                                                                                  a custom or
and up the ranks,      with an "ends justifu the means" mentality. This mentality includes

                                                      then establishing reasonable suspicion after the
practice of stopping, or stopping and frisking first,

                                                   of the stop and frisk policy established by the
fact. use of force was viewed as colraterar damage

NryPD.

                                               ever brought up on charges, investigated or disciplined
                                                                                                       for
30g.      Police officers u,ere rarely,   if
                                                   policies and practices, including pursuits into
their overaggressive applícation of stop and frisk

homes, use of force, or discharge of their weapons'

309.      Precinct commanders and supervisors were rarely,
                                                                          if   ever, investigated' disciplined'

                                                      of misconduct, review of data or complaints
reassigned or retrained due to their own observations

                                                   4th Amendment violations,        illegal search and seizure'
 fiom     citízens   for excessive use of force,

                 into cirízen,shomes without a warrant,      farse arrests, witness intimidation, submitting
ilregar entry

 false police reports, and other constitutional rights
                                                       violations occurring in their command' under

                                           poiice Supervisors (for the NypD) sets forth certain
 their watch. In fact procedural Guide for

 protections for police offlrcers and restrictions placed
                                                          on supervisors, all at tlie expense of the

 general public. TheY include:

                      pG 205-46which    states that records of officers   who eîgage in counseling services
           a.
 willnotbeduplicatedorforwardedanywherewithintheNYPD'

           b.         If a supervisor officially refers a member of service for counseling, in non
                                                     record of the referral will be noted in the
 disciplinary cases, No report will be generated, no

 member,s personnel file, and Supervisors          will only be advised as to the level of cooperation of the

 officer on     a need to   know basis' (PG 205-46)
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           c.officerswhopart\cipaleincounselingserviceswillnotjeopardizetheir
                                                                                                for all
assignments. Assignments          will not be changed'. " Unless a change is deemed appropriate

parties.

                                      with deliberate indifference to the need to reform their customs
                                                                                                         and
310.       Thus, the   city   acted

                                                  exampres of constitutionar violations of its
practices which included as stated herein rampant

                                                 unconstitutional conduct' upon information and
 citízenry,thereby lending tacit approval to the
                                                    herein, were more interested in meeting
belief, the City, Keily andlor the named defendants
                                                          rights of its citizens'
"numbers', than they were safeguarding the constitutional
                                                                   andlor irrproper stop and frisk
311.       other instances of: racialbias or profiling; an illegal
                                                      of and tolerance of excessive use of force;
program, custom, practices or policy; the application

                                                    and intimidating witnesses to said misconduct;
police cover-ups which include filing false charges

 and warrantless entry into citizens homes are:

                                                                              an Aû:ican American male' was
            a.     on November 1 1, 2001 at3 a.m. Antoine Parsley,

                               of 123'd Street   and 2"d Avenue   in New York, when he observed Officers
 walking in the vicinity
                                                          one of the officers came up to Parsley
 from the 25rh precinct chasing two unknou,n individuals.

                                            and handcuffed hirn while being surrounded by
                                                                                          other
 and grabbed him, punched him in the mouth,
                                                                                                       he was
 officers. Parsley was nevef infonned           as   to why he was being arrested and when he inquired


 toldto,,shutthefuckup.,,parsleywastransportedtotheprecinct,searched,andstrippedofallhis
                                                 precinct to check on him, he too was ar¡ested and
 belongings' When Parsley,s cousin came into the
                                                        the holding cell' held Parsley down on a
 put in the same holding cell. officers later came into

                                                    to choke him while he was handcuffed to the
  bench, and punched him repeatedly' They proceeded

                                                      of governmental administration, which was
  bench. parsley was falsely charged with obstruction
